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                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF KENTUCKY
                              LOUISVILLE DIVISION


   CHELSEY NELSON PHOTOGRAPHY,                                                    PLAINTIFFS
   LLC, ET AL.

   v.                                                                  No. 3:19-cv-851-BJB

   LOUISVILLE/JEFFERSON COUNTY                                                  DEFENDANTS
   METRO GOV’T, ET AL.
                                            * * * * *
                                      OPINION & ORDER

         Does “applying a public-accommodation law to compel an artist to speak or
  stay silent violat[e] the Free Speech Clause of the First Amendment?” The Supreme
  Court recently granted review of a case asking that question, 303 Creative LLC v.
  Elenis, 142 S. Ct. 1106 (mem.) (Feb. 22, 2022), which mirrors the dispute here.
  Chelsey Nelson is a wedding photographer opposed to same-sex marriage on moral
  and religious grounds. She sued the City of Louisville under the First Amendment
  and Kentucky law to shield herself from enforcement of Louisville’s “Fairness
  Ordinance,” a public-accommodations law that guarantees equal access to goods and
  services regardless of sexual orientation. Under that law Nelson must photograph
  same-sex weddings if she photographs opposite-sex ceremonies. Metro Ord.
  § 92.05(A). And she may not express her unwillingness to do so or otherwise make
  same-sex couples feel “unwelcome.” § 92.05(B).
         Courts across the country have addressed whether bakers, florists, website
  designers, and other creative professionals must either provide their services for
  weddings that violate their beliefs or else abstain entirely from the wedding
  business.1 And those courts’ disagreement on whether this amounts to prohibited
  discrimination or protected dissent is what the U.S. Supreme Court has set out to
  resolve during its upcoming term.


        1 The Eighth Circuit and Arizona Supreme Court have held that governments may not

  compel wedding-related speech in this context. See Telescope Media Grp. v. Lucero, 936 F.3d
  740, 751–52 (8th Cir. 2019); Brush & Nib Studio, LC v. City of Phoenix, 448 P.3d 890, 908
  (Ariz. 2019). But the Tenth Circuit, along with the New Mexico and Washington Supreme
  Courts, have upheld the application of similar public-accommodations laws to similar
  vendors. See 303 Creative LLC v. Elenis, 6 F.4th 1160, 1180 (10th Cir. 2021); State v. Arlene’s
  Flowers, Inc., 441 P.3d 1203, 1226–28 (Wash. 2019); Elane Photography, LLC v. Willock, 309
  P.3d 53, 63 (N.M. 2013).

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         This split is one result of the remarkable and rapid change in the legal
  treatment of same-sex relationships in this country. In 2015 the Supreme Court
  interpreted the Constitution to require states to authorize same-sex marriages in
  Obergefell v. Hodges, 576 U.S. 644. Even before that decision, but especially since,
  the nation’s courts and lawmakers have struggled to reconcile the new legal
  orthodoxy with the dissenting views and voices of those whose religious faith leads
  them to maintain what was until recently the status quo. In Masterpiece Cakeshop
  v. Colorado Civil Rights Commission, the Supreme Court approached the question,
  but didn’t make it all the way down the aisle. 138 S. Ct. 1719 (2018). It ruled
  narrowly that Colorado’s public-accommodations law couldn’t force a particular baker
  to supply a custom wedding cake for a same-sex ceremony because public officials
  investigating that baker expressed hostility toward his position and faith. Id. at
  1732. But the Court didn’t resolve the underlying constitutional question regarding
  the tension between the First Amendment and Colorado’s public-accommodations
  law.2
         This is a real conflict between nondiscrimination and speech that cannot be
  wished away: compelling access for all necessarily clashes with the liberty of some.
  The City contends that Nelson’s speech demeans same-sex couples, while Nelson says
  the City’s Ordinance demeans her speech. How to resolve these competing
  considerations? As a matter of morality and philosophy, different people—operating
  in good faith—will surely assign different weights to the equality, dignity, and liberty
  interests this dilemma implicates. But as a matter of constitutional law, judges do
  not—or at least should not—decide cases by balancing their own personal
  assessments of such important and incommensurable concepts.
         Instead judges must look somewhere less cosmic: the law. One of the most
  basic provisions of constitutional law specifies that when federal and state or
  municipal law conflict, federal law takes precedence. See U.S. CONST. art. VI, cl. 2.
  In general, statutes like the Fairness Ordinance don’t conflict with the Constitution.
  Public-accommodations laws are generally permissible. See Hurley v. Irish-Am. Gay,
  Lesbian & Bisexual Group of Boston, 515 U.S. 557, 572 (1995). State and local
  governments have broad authority to regulate commercial activity and prohibit
  discriminatory conduct. See, e.g., New York State Club Ass’n, Inc. v. City of New
  York, 487 U.S. 1, 11–16 (1988). The First Amendment’s protections for religious
  exercise, moreover, are unlikely to help those in Nelson’s position: at least as
  currently construed, that aspect of the Constitution does not shield people whose



     2 Compare   138 S. Ct. at 1739 (Gorsuch, J., concurring) and id. at 1740 (Thomas, J.,
  concurring in part and concurring in the judgment), with id. at 1732 (Kagan, J., concurring),
  and id. at 1748 (Ginsburg, J., dissenting).

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  sincerely held religious beliefs conflict with generally applicable laws. See Fulton v.
  City of Philadelphia, 141 S. Ct. 1868, 1876–77 (2021).
         But the government’s authority over public accommodations does not extend
  to “abridging the freedom of speech.” U.S. CONST. amend. I. Whether a given service
  counts as speech will of course require courts and litigants to grapple with difficult
  edge cases. Yet the U.S. Supreme Court has long given “speech” a construction broad
  enough to include Nelson’s photography and blogging, as a previous decision in this
  case recognized. See Chelsey Nelson Photography v. Louisville/Jefferson County
  Metro Gov’t, 479 F. Supp. 3d 543, 548 (W.D. Ky. 2020). The Constitution protects
  this expression in both positive and negative ways: the government generally may
  neither muzzle citizens from expressing the content of their choice, nor compel them
  to express content they find objectionable. United States v. United Foods, Inc, 533
  U.S. 405, 410 (2001).       And even in service of an otherwise valid public-
  accommodations law, the government may not “declar[e] the sponsors’ speech itself
  to be the public accommodation.” Hurley, 515 U.S. at 573.
         So although Louisville may require restaurants and hotels and stores to
  provide services regardless of the proprietors’ views or their customers’ legal status,
  the government may not force singers or writers or photographers to articulate
  messages they don’t support. Because speech is categorically different under the
  federal Constitution, local laws must treat it differently, too. “[O]ne who chooses to
  speak may also decide what not to say,” id. at 573 (quotation omitted), and the “choice
  of a speaker not to propound a particular point of view ... is presumed to lie beyond
  the government’s power to control,” id. at 575. However worthy and widely supported
  the government’s commitment to equal access and respectful speech, these are
  concerns the First Amendment resolves in favor of the dissenting speaker. Id. at 572–
  76.
          The City treats the equal status of same-sex marriages as fixed. As a matter
  of law, it is. See Obergefell, 576 U.S. at 681 (invalidating Kentucky’s prohibition
  against same-sex marriages). But today’s dispute concerns whether the government
  may conform speech to that development. Under the First Amendment, it may not.
  The freedom of speech—especially for minority views—is a core premise of our
  democratic republic. See, e.g., Turner, 512 U.S. at 641. As prevailing sentiments and
  politics have changed over the years, robust constitutional protection for differing
  views has remained fixed. Few issues demonstrate that constancy as much as the
  legal treatment of same-sex relationships. Not so many years ago, and in some ways
  still today, the First Amendment was necessary to protect the discourse of same-sex
  couples and their supporters. See, e.g., Jason M. Shepard, The First Amendment and
  the Roots of LGBT Rights Law: Censorship in the Early Homophile Era, 1958–1962,
  26 WM. & MARY J. RACE, GENDER, & SOC. JUST. 599, 614–661 (2020). Speech
  protections undoubtedly helped overcome “the censorial efforts of the dominant

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  culture, authoritarian politicians, and aggressive law enforcement.” Id. at 601–02.
  And today the First Amendment protects the old majority, newly in dissent. Then,
  as now, “the law [wa]s free to promote all sorts of conduct in place of harmful
  behavior”—or at least behavior the government perceived as “harmful.” Hurley, 515
  U.S. at 579 (emphasis added). But now, as then, the government is “not free to
  interfere with speech for no better reason than promoting an approved message or
  discouraging a disfavored one, however enlightened either purpose may strike the
  government.” Id. (emphasis added).
         “If there is any fixed star in our constitutional constellation,” the Supreme
  Court reminded us long ago—in another dispute over dissenting views on sensitive
  questions of faith and freedom—“no official, high or petty, can prescribe what shall
  be orthodox in politics, nationalism, religion, or other matters of opinion or force
  citizens to confess by word or act their faith therein.” West Virginia State Board of
  Education v. Barnette, 319 U.S. 624, 642 (1943). The Supreme Court has continued
  to navigate by that star through changing currents of speech and conscience. And
  lower courts are bound to follow. Because the U.S. Constitution supersedes
  Louisville’s Fairness Ordinance as a matter of law, this Court enjoins the City from
  either compelling or suppressing Nelson’s photography and writing.
                              I. The Evidentiary Record
         Chelsey Nelson is a photographer who uses images and words to celebrate the
  union of marriage. Chelsey Nelson Decl. (DN 92-2) ¶¶ 75–99. She takes engagement
  and wedding photos, whose lighting and mood she edits to present her clients in a
  beautiful and celebratory manner. ¶¶ 151–272. Nelson writes a blog about each
  wedding to highlight her clients’ marriages. ¶¶ 268–71 (describing “wedding-
  celebration” package). She also uses the blog to promote her services to potential
  clients. ¶¶ 272, 282. And she provides editing services to other photographers, so
  long as doing so wouldn’t “require [her] to use her artistic talents” to promote
  anything “contrary to [her] beliefs.” ¶¶ 191–207, 308, 330–36.
           Nelson is also a Christian whose faith and beliefs “shape every aspect of [her]
  life,” including the way she serves her clients and manages her photography business.
  ¶¶ 2–4. The photographs Nelson takes convey her view of the world, and ultimately
  her values and faith. ¶¶ 75–99. To Nelson, “God designed marriage as a gift to people
  of all faiths, races, and backgrounds” and “ordained marriage to be a covenant
  between one man and one woman.” ¶ 83. So she will not participate in wedding
  ceremonies that involve a same-sex couple, portray marriage in a negative or
  sacrilegious light (such as cosplay weddings), or condone racism, vulgarity, or
  violence. ¶¶ 332–77. Nelson states that she does not discriminate based on the
  sexual orientation of her customers and will “happily” “provide wedding photography
  to LGBT clients,” including “LGBT wedding planners,” and “LGBT parents” on
  subjects other than same-sex weddings. Nelson Motion for Summary Judgment (DN

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  92-1) at 11 (citing Nelson Decl. ¶¶ 396–401). But she says she cannot, consistent with
  her faith, use her creative talents to celebrate something to which she maintains a
  moral objection. Nelson Decl. ¶¶ 332–76. Nelson’s website explains her faith, its
  impact on her photography, and how this leads her to decline same-sex wedding
  engagements. ¶¶ 60–61.
        The City hasn’t pointed to evidence that would rebut any of these facts. It does,
  however, question Nelson’s fear of enforcement, given that her overall photography
  business is limited, and that she hasn’t refused or even been asked to photograph a
  same-sex wedding. MSJ Opp. 5.
                             II. The Fairness Ordinance
         In 1999 Louisville and Jefferson County amended their nondiscrimination
  laws to include sexual orientation as a protected class and later expanded the laws’
  reach to include public accommodations. City Response (DN 97) at 2–3; id. at 3
  (describing 2004 post-merger enactment of nondiscrimination law as Metro
  Ordinance Chapter 92). The City and Nelson both interpret this Ordinance to require
  professional photographers such as Nelson to photograph same-sex weddings if they
  photograph opposite-sex ceremonies. Two provisions of the Ordinance are implicated
  by this case.
      The Accommodations Provision bars the denial of goods and services to
  members of protected classes, including sexual orientation:
        [I]t is an unlawful practice for a person to deny an individual the full
        and equal enjoyment of the goods, services, facilities, privileges,
        advantages, and accommodations of a place of public accommodation,
        resort or amusement as defined in § 92.02, on the ground of race, color,
        religion, national origin, disability, sexual orientation or gender
        identity. Louisville Metro Ordinance § 92.05(A).
        And the Publication Provision bars Nelson from writing and publishing any
  indication or explanation that she wouldn’t photograph same-sex weddings, or that
  otherwise causes someone to feel unwelcome or undesirable based on his or her sexual
  orientation or gender identity:
        It is an unlawful practice for a person, directly or indirectly, to publish,
        circulate, issue, display, or mail … a written, printed, oral or visual
        communication, notice, or advertisement, which indicates that the
        goods, services, facilities, privileges, advantages, and accommodations
        of a place of public accommodation … will be refused, withheld, or denied
        an individual on account of his … sexual orientation or gender identity,
        or that [the] patronage of … an individual, on account of [his or her]…



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        sexual orientation or gender identity is objectionable, unwelcome,
        unacceptable, or undesirable. Metro Ord. § 92.05 (B).
         The Ordinance contains enforcement provisions that could subject violators to
  investigation, injunctions compelling participation, and damages for humiliation,
  embarrassment, and costs of the refusal.          See Metro Ord. §§ 92.08(B)(8)
  (incorporating remedies of Kentucky Civil Rights Act), 92.12(B) (incorporating
  federal civil-rights remedies as well).
                                   III. This Litigation
         Nelson and her photography firm filed this lawsuit against the City of
  Louisville asking (among other things) to block Louisville from enforcing the
  Ordinance and for a declaration that the Ordinance violates the First Amendment’s
  free-speech and free-exercise clauses, as well as the Kentucky Religious Freedom
  Restoration Act (KRFRA). Complaint (DN 1) at 50–51. After Louisville moved to
  dismiss the case on the grounds that Nelson lacked standing and her photography
  wasn’t speech, this Court concluded that Nelson’s photography is speech and that she
  was likely to succeed on the merits. Chelsey Nelson Photography, 479 F. Supp. 3d at
  547. So the Court preliminarily enjoined Louisville from enforcing the Ordinance
  against her. Id.
          Since then, the City and Nelson completed discovery and filed cross-motions
  for summary judgment. Summary judgment is appropriate if no genuine dispute of
  material fact exists and the movant is entitled to “judgment as a matter of law.” FED.
  R. CIV. P. 56(a). Louisville continues to object to Nelson’s standing, arguing her
  purported injuries are too speculative, and portrays the Ordinance as a neutral
  regulation of conduct that would survive strict scrutiny even if her photography is
  deemed speech. City Response at 8–18. For her part, Nelson points out the chilling
  effect of the Ordinance, which she contends violates the First Amendment by both
  compelling her speech and regulating its content. Nelson MSJ at 6–14. She also
  claims that the Ordinance is vague, overbroad, and inconsistent with state and
  federal protections for religious freedom. Nelson seeks a declaration and a permanent
  injunction barring Louisville’s Human Relations Commission and several City
  officials from enforcing the Ordinance against her.3




     3 In her reply brief (DN 104) at 31 n.16, Nelson abandoned her claims against all
  individual defendants and against the Human Relations Advocacy Commission. She also
  abandoned all federal claims against the Enforcement Commission, but continues to assert
  the KRFRA claim against it. The Court therefore grants summary judgment with respect to
  the abandoned claims in favor of the individual defendants and Commission. FED. R. CIV. P.
  56(d).

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                                      IV. Standing
         Does an actual case or controversy exist for this Court to adjudicate? That
  depends on whether the Ordinance has caused a “concrete injury” that is particular
  to the plaintiff, traceable to the defendant, and remediable by a court. McKay v.
  Federspiel, 823 F.3d 862, 867 (6th Cir. 2016) (citing Lujan v. Def’s of Wildlife, 504
  U.S. 555, 560–61 (1992)). A previous order in this case held that Nelson had suffered
  an injury, Preliminary Injunction Order at 3–10, but that decision rested only on the
  parties’ allegations. Now, after the parties have developed the factual record, the
  Court must revisit that question based on proof, not pleadings. See Sault Ste. Marie
  Tribe of Chippewa Indians v. United States, 288 F.3d 910, 915 (6th Cir. 2002); United
  States v. $99,500.00, 795 F. App’x 332, 335–36 (6th Cir. 2019). Jurisdictional issues
  “must be supported … with the manner and degree of evidence required at the
  successive stages of litigation.” Lujan, 504 U.S. at 561.
          Nelson has not been charged with violating the Ordinance, and Louisville says
  no evidence indicates the City is likely to charge her. City Response at 8. Nor has
  she photographed or been asked to photograph any same-sex weddings. Id. at 9. But
  Nelson says the likelihood that the government will enforce the Ordinance based on
  her speech suffices to injure her. And when “threatened action by government is
  concerned,” the Constitution “do[es] not require a plaintiff to expose h[er]self to
  liability before bringing suit to challenge the basis for the threat.” MedImmune, Inc.
  v. Genetech, Inc., 549 U.S. 118, 128–29 (2007). Rather, the Supreme Court has held
  that “a plaintiff satisfies the injury-in-fact requirement where [s]he alleges ‘an
  intention to engage in a course of conduct arguably affected with a constitutional
  interest, but proscribed by a statute, and there exists a credible threat of prosecution
  thereunder.’” Susan B. Anthony List v. Driehaus, 573 U.S. 149, 159 (2014) (quoting
  Babbitt v. Farm Workers, 442 U.S. 289, 298 (1979)).
         The record clearly indicates that Nelson’s decision not to provide wedding-
  photography services at a same-sex wedding would violate the Ordinance, that she
  intends to and does photograph opposite-sex weddings, and that her photography is
  “affected with a constitutional interest,” namely speech. Babbitt, 442 U.S. at 298; see
  Nelson Decl. ¶ 377. This much of the standing inquiry is beyond dispute. After
  Nelson received a preliminary injunction, she updated her website with a message
  explaining why she limits her services to celebration of opposite-sex weddings that
  align with her religious beliefs. Nelson Decl. ¶ 60. As construed by the City, the
  limitations Nelson places on her photography violate the Ordinance’s
  Accommodations Provision, Metro Ord. § 92.05(A). See City Response at 16 (The
  Ordinance requires Nelson to “make [her] … service equally available to all
  customers.”). And, as construed by the City, her statement about her beliefs conflicts
  with the Ordinance’s Publication Provision, Metro Ord. § 92.05(B). Id. at 12 (“[T]here


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  is no dispute that [Nelson’s] statement on her website … violates the Ordinance.”)
  (citing Metro Ord. § 92.05(B)).
         The standing question therefore comes down to whether Nelson has shown a
  “credible threat of prosecution.” Susan B. Anthony List, 573 U.S. at 159. A
  “subjective chill on protected speech” may qualify as a “credible threat” if it is
  accompanied by other indicators of imminent enforcement. McKay, 823 F.3d at 868.
  These indicators include (1) “a history of past enforcement against the plaintiffs or
  others,” (2) “enforcement warning letters sent to the plaintiffs regarding their specific
  conduct,” (3) “an[y] attribute of the challenged statute that makes enforcement easier
  or more likely, such as a provision allowing any member of the public to initiate an
  enforcement action,” and (4) “a defendant’s refusal to disavow enforcement of the
  challenged statute against a particular plaintiff.” Id. at 868–69 (quotation omitted).
  “These McKay factors are not exhaustive, nor must each be established.” Online
  Merchants Guild v. Cameron, 995 F.3d 540, 550 (6th Cir. 2021).
         According to these factors, the threat of enforcement facing Nelson is credible.
  And but for the permanent injunction issued by this Court, it would chill her speech:
  Nelson says she could not display the notice on her website explaining her religious
  beliefs and would have to choose between running her business inconsistently with
  her beliefs or closing the business altogether. Nelson Decl. ¶¶ 443–54, 492–503.
         First, Louisville has a “history of past enforcement against the plaintiffs or
  others.” McKay, 823 F.3d at 869. Louisville admits that it “actively enforces … [the]
  antidiscrimination law.” City Response at 8–9. And the record supports that
  admission. Between 2002 and 2020, the Human Relations Commission received 173
  complaints alleging discrimination on the basis of sexual orientation. Kendall Boyd
  Deposition (DN 92-7 at 473) Tr. 137–38; see also Human Relations Commission
  Reports (DN 92-7) at 117–72 (detailing investigations and penalties assessed for 143
  complaints filed under the Ordinance). And between 2010 and 2020, Louisville
  investigated 100 public accommodations for alleged violations of the Ordinance. See
  Statement of Stipulated Fact (DN 104-5) at 1.
         Louisville contends that the text of the Ordinance is “at odds with any
  suggestion that it is targeted at individuals like [Nelson],” City Response at 9, but
  this is a head-scratcher. Elsewhere the City concedes that the law’s “clear terms”
  apply to “commercial photography business[es]” like Nelson’s. See Preliminary
  Injunction Response (DN 15-1) at 9. Certainly nothing in the record indicates that
  the government will not in fact enforce a statute or ordinance on the books. See
  Virginia v. Am. Booksellers Ass’n, Inc., 484 U.S. 383, 393 (1988) (“no reason to
  assume” the “newly enacted law [would] not be enforced” against those within its
  reach); Planned P’hood Ass’n of Cincinnati, Inc. v. City of Cincinnati, 822 F.2d 1390,
  1396 (6th Cir. 1987) (“the statutory language of the Ordinance evinces a credible
  threat of prosecution…”). Whether and when Nelson herself might actually be fined

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  or punished is less relevant than the threat that she could be at any time. See Susan
  B. Anthony List, 573 U.S. at 165–66 (threat of investigation created harm). And even
  without a ruling against her, the investigative process itself—demanding written
  responses, document production, witness testimony, and the like—is onerous. Metro
  Ord. §§ 92.08(B)(5), 92.09(D). This contributes to the chilling effect and harm of an
  enforcement threat, as the Supreme Court has recognized. Susan B. Anthony List,
  573 U.S. at 165–66.
         This conclusion is consistent with the rulings of other courts that have relied
  on past enforcement to find an injury sufficiently imminent for preenforcement
  review. See, e.g., 303 Creative, 6 F.4th at 1171–75 (single enforcement action in
  Masterpiece Cakeshop provided sufficient ground for wedding-website designer to
  challenge same public-accommodations law); Telescope Media Group, 936 F.3d at 750
  (standing of wedding videographers adequately based on government announcement
  regarding same-sex wedding-videography services and prior enforcement of the
  provision against wedding venue).
         Second, although the City has not sent “enforcement warning letters” to
  Nelson, this only marginally cuts against the threat of prosecution. McKay, 823 F.3d
  at 869. The City has said in this litigation that Nelson’s limitations are “plainly
  discriminatory” and “impermissible” under the Ordinance. Preliminary Injunction
  Response at 10; see also id. at 11 (“On its face … Plaintiffs’ … policy discriminates
  based on sexual orientation.”). The City also admitted that it “actively enforces [the]
  antidiscrimination law,” Response at 9, and noted that “every single instance of
  discrimination” creates a harm that the City has a legitimate interest in remedying,
  id. at 26. And the City has litigated this case for almost three years. As the D.C.
  Circuit has noted in the context of economic harm, it’s “more than a little ironic that
  [the government] would suggest [the plaintiff] lack[s] standing and then, later in the
  same brief, label [the plaintiff] as a prime example of ... the very problem [its law]
  was intended to address.” Stilwell v. Office of Thrift Supervision, 569 F.3d 514, 518
  (D.C. Cir. 2009) (Kavanaugh, J.) (quotation omitted).
         Third, enforcement here is made easier and more likely by “a provision
  allowing any member of the public to initiate an enforcement action.” McKay, 823
  F.3d at 869. Private parties outside the government may spur enforcement action in
  either of two ways: by filing a complaint with the Human Relations Commission that
  triggers public enforcement, or by directly filing a private lawsuit against the alleged
  offender.
        As to public enforcement, “any member” of the public “with knowledge of the
  purported violation” may file a complaint, which creates a substantial threat of
  enforcement. Susan B. Anthony, 573 U.S. at 164; see Platt v. Bd. of Comm’rs on
  Grievances & Discipline of Ohio S. Ct., 769 F.3d 447, 452 (6th Cir. 2014) (same). “Any
  person claiming to be aggrieved by an unlawful practice” in Louisville—not just a

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   prosecutor or public official— “may file a written complaint.” Metro Ord. § 92.09(A).
   One who experiences discrimination may file a complaint, and so too may someone
   who “associates” with “someone from a protected class.” Boyd Dep. Tr. 83–84.
   Expanding this already expansive “universe of potential complainants,” Susan B.
   Anthony List, 573 U.S. at 164, are the “testers” whom the Commission invites and
   uses to initiate public enforcement actions, Motion for a Protective Order, Funding
   Agreement (DN 64-3) (discussing use of testers); Boyd Dep. Tr. 79 (“We actually have
   … part-time testers, who do discriminat[ion] testing.”). See Telescope Media Group,
   936 F.3d at 750 (use of testers supported preenforcement standing). A complainant
   may call the Human Relations Commission, fill out an online form, or “walk in off the
   street” to file a complaint. Verna Goatley Dep. (DN 92-7 at 503) Tr. 31 (City aims to
   “make it convenient for a person wanting to file a complaint to do so at [his or her]
   leisure”).
          And as to private suits, their availability further suggests that enforcement is
   “not limited to a prosecutor or an agency.” Susan B. Anthony List, 573 U.S. at 164.
   Instead, the process is open to “any person or persons claiming to be aggrieved,” who
   “may file an action in Jefferson Circuit Court and obtain civil remedies.” Metro Ord.
   § 92.09(A). Vesting authority in such a large number of potential claimants “makes
   enforcement easier or more likely,” McKay, 823 F.3d at 869, as nothing indicates
   private suits displace public enforcement in this context, see generally Platt, 769 F.3d
   at 452 (that “any person—not just a prosecutor or state agency—may initiate
   enforcement” made enforcement more likely and helped establish standing). And a
   prevailing party may recoup damages, attorney fees, and court costs. Id. (citing KRS
   § 344, 42 U.S.C. § 3604, and “any other federal civil rights statute that grants state
   courts concurrent jurisdiction”). So the City, having empowered private parties to
   initiate enforcement of its Ordinance, has only a limited ability to assuage Nelson’s
   fear of litigation and reduce the chilling effect on her speech.4
          Fourth, Louisville apparently doesn’t want to assuage that fear. It has
   “refus[ed] to disavow enforcement.” McKay, 823 F.3d at 869 (citing Kiser v. Reitz, 765
   F.3d 601, 608–09 (6th Cir. 2014), and Platt, 769 F.3d at 452). At oral argument on
   the motion to dismiss, the City refused to promise it wouldn’t “enforc[e] … the


      4 Whether a law authorizing enforcement only though private lawsuits would allow for

   preenforcement standing against public officials is of course a separate question, raising
   separate concerns, than the question whether the threat of private suits contributes to a
   chilling effect that amounts to a constitutional injury. See generally Whole Women’s Health
   v. Jackson, 142 S. Ct. 522, 536–37 (2022). The Ordinance at issue here obviously invests
   enforcement authority in public officials, simplifying any “whom to sue?” questions. And the
   preenforcement-injury caselaw discussed above at least implies that private enforcement
   may contribute to a constitutional injury, regardless of whether it might allow for a
   justiciable suit standing alone.

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   challenged statute against [this] particular plaintiff.” See McKay, 823 F.3d at 869;
   Chelsey Nelson Photography, 479 F. Supp. 3d at 551 n.57. This supports the
   credibility of Nelson’s fear of enforcement. See Holder v. Humanitarian Law Project,
   561 U.S. 1, 16 (2010); Babbitt, 442 U.S. at 302; Online Merchants Guild, 995 F.3d at
   550, 551–52 (“Attorney General ha[d] not disavowed enforcement with respect to
   [plaintiffs]”).
          Cutting against the threat of enforcement, according to the City, is that it
   considers Nelson barely a wedding photographer at all. Since the lawsuit began, it
   explains, Nelson has photographed two weddings, had a baby, and quit her second
   job to spend more time at home with her child. City Response at 5–7 (seemingly
   questioning Nelson’s decision to work part-time after having a child). No same-sex
   couple has ever asked her to photograph their wedding. Id. at 9. Although her
   website appears to directly violate the Ordinance by explaining her aversion to
   photographing same-sex weddings, the City notes she revised her website to this
   effect only on the advice of counsel before filing suit. Id. at 5–6.
          Yet the City offers no explanation of why (contrary to its characterization of
   her discrimination set forth above) it believes two wedding shoots are somehow
   insufficient to bring her within the ambit of the Ordinance; to the contrary, it
   maintains “that exempting even one religious objector can” defeat the City’s
   nondiscrimination objectives. City Response at 29. Nor does Louisville explain why
   Nelson’s explanation of her limited services on her website is not speech that today
   violates the Publication Provision. From the City’s perspective on the law, Nelson is
   currently violating the Ordinance by explaining that she offers photography services
   for opposite-sex weddings only. Nelson Decl. ¶ 60; MSJ at 1 (“Chelsey has posted
   statements explaining why she cannot create certain photographs or blogs and
   continued to operate her studio.”). None of these arguments for a de minimis
   exception to ordinary preenforcement standing rules find a home in any of the four
   factors the Sixth Circuit addresses under McKay.
          Nor do the City’s objections to a “manufactured” test case add up to much. See
   Response at 4–6. Even assuming the City’s lawyers have correctly characterized
   Nelson’s motives and strategy, the law treats the injuries of private testers the same
   as those of enforcement targets. “It has long been settled ... that an individual does
   not forfeit his standing for jurisdictional purposes merely because he is a ‘test’
   plaintiff.” See, e.g., Ted Cruz for Senate v. FEC, No. 19-cv-908, 2019 WL 8272774, at
   *6 (D.D.C. Dec. 24, 2019) (quotation omitted), aff’d sub nom, FEC v. Cruz, 142 S. Ct.
   1638 (2022).5 That Nelson never requested a religious exemption, as the City notes,

      5 See also Pierson v. Ray, 386 U.S. 547, 558 (1967) (pastors could enter “bus terminal for

   the sole purpose of testing their rights to unsegregated public accommodations”); Kuehl v.
   Sellner, 887 F.3d 845, 851 (8th Cir. 2018) (“[W]hen an individual searches for and finds a


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   see Response at 5, 8, can hardly matter: the Ordinance provides exemptions only for
   religious, charitable, and educational organizations—which Nelson’s business is not.
   See § 92.07(A)(2), (B). And in any event, the City’s position that a judicial ruling
   “[g]ranting religious exemptions to antidiscrimination laws increases real-world
   discrimination” casts significant doubt on whether it would ever plausibly grant an
   administrative exemption of the sort it suggests Nelson should’ve sought. City
   Response at 1.
          Finally, Nelson cannot be said to have “manufactured” this case by deciding to
   speak in the first place. The City’s briefs instruct Nelson on how to avoid
   enforcement: just cave. True, she could avoid the threat of enforcement by “not
   advertis[ing] her refusal to photograph same-sex weddings,” City Response at 10, but
   that flips the freedom of speech on its ear. And it proves too much; asking plaintiffs
   to simply comply with a law to avoid the threat of enforcement would defeat speech
   rights and standing in any number of contexts. “The Government’s argument largely
   misses the point,” as the Supreme Court recently reminded us: “Demanding that the
   [plaintiff] comply with the Government’s ‘alternative’ would … require it to forgo the
   exercise of a First Amendment right we must assume it has” and “subject itself to the
   very framework it says unconstitutionally burdens its speech.” See Cruz, 142 S. Ct.
   1647–48 (rejecting a similar “be quiet and you won’t get hurt” argument).
          Under the McKay factors, therefore, Nelson’s fear of prosecution amounts to a
   constitutional injury chilling her speech. And aside from injury, the City doesn’t
   seriously contest the other two prongs of the standing inquiry: traceability and
   redressability. And for good reason. “[S]tanding depends considerably upon whether
   the plaintiff is [herself] an object of the action … at issue.” Lujan, 504 U.S. at 561.
   Everyone agrees the City and those acting on its behalf are empowered to enforce the
   Ordinance. § 92.09. “[T]he causation element of standing requires the named
   defendants to possess authority to enforce the complained-of provision.” 303
   Creative, 6 F.4th at 1175 (quotation omitted). And it is beyond dispute that an
   injunction “would meaningfully redress the alleged injury” of which Nelson
   complains. Id. (quotation omitted). So Nelson has standing and this Court has
   jurisdiction.
                                          V. Ripeness
         For substantially similar reasons, Nelson has also shown that her
   preenforcement challenge is ripe. Ripeness and standing, while once considered to
   be separate limitations on the exercise of the judicial power, see Warshak v. United

   violation of the law, it is the violation itself—not the search—that causes the plaintiff
   injury.”); WRIGHT & MILLER, 13 FED. PRACTICE AND PROCEDURE § 3530 (3d ed. 2022) (“If
   actually advers[e] interests are involved, deliberate provocation of litigation does not defeat
   the existence of a controversy.”).

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   States, 532 F.3d 521, 525 (6th Cir. 2008) (quotation omitted), have more recently been
   understood to impose overlapping constraints, see Kiser, 765 F.3d at 607
   (“address[ing] the constitutional component of ripeness in terms of standing”). In
   determining “whether a claim is ripe for judicial resolution,” courts traditionally
   “ask[ed] two basic questions: (1) is the claim ‘fi[t] ... for judicial decision’ in the sense
   that it arises in a concrete factual context and concerns a dispute that is likely to
   come to pass? and (2) what is ‘the hardship to the parties of withholding court
   consideration’?” Warshak, 532 F.3d at 525. In the context of “preenforcement First
   Amendment challenges,” however, the Sixth Circuit has recognized that “[t]he line
   between Article III standing and ripeness … has evaporated.” Winter v. Wolnitzek,
   834 F.3d 681, 687 (6th Cir. 2016). In such a case, “[w]hether the plaintiffs have
   standing and whether their claims are ripe come to the same question: Have they
   established a credible threat of enforcement?” Id. If so then they’ve satisfied both
   the standing and ripeness inquiries. See id.; Susan B. Anthony List, 573 U.S. at 157
   n.5 (resolving standing and ripeness together because, in that preenforcement
   context, they “boil[ed] down to the same question”) (quoting MedImmune, 549 U.S. at
   128 n.8).
          As explained above, the answer here is indeed yes. Nelson’s concern regarding
   enforcement is concrete and not hypothetical. A statute prohibiting protected speech
   may lead to “self-censorship; a harm that can be realized even without an actual
   prosecution.” Virginia, 484 U.S. at 393. Here, as in 303 Creative, 6 F.4th at 1176,
   and Telescope Media Group, 936 F.3d at 750 (affirming district court’s ripeness
   finding), Nelson has shown a credible fear of enforcement and this law’s concomitant
   chill on her speech.
          Nor do significant factual issues remain unaddressed in the record. While the
   City contends that “additional facts regarding the same-sex wedding ceremony would
   be relevant” to the Court’s evaluation of Nelson’s religion-clause claim, City Reply
   (DN 111) at 8, this is merely a prudential rather than a jurisdictional point. These
   concerns about hypothetical facts do not affect the analysis below; they do not render
   this an “abstract disagreement” incapable of concrete judicial resolution. See Thomas
   v. Union Carbide Agric. Prods. Co., 473 U.S. 568, 580 (1985) (quoting Abbott Labs. v.
   Gardner, 387 U.S. 136, 148 (1967)). And the City’s efforts to downplay Nelson’s
   business, speech, and fear fail for the same reasons discussed above in the standing
   context. So her challenge is ripe for adjudication.
              VI. The Freedom of Speech Under the First Amendment
          “Congress shall make no law abridging the freedom of speech.” U.S. CONST.
   amend. I. Neither may states, against whom the First Amendment was incorporated
   through the Fourteenth, Am. Freedom Def. Initiative v. Suburban Mobility Auth. for
   Regional Transp., 978 F.3d 481, 489 (6th Cir. 2020), nor their municipalities, see
   Lovell v. City of Griffin, 303 U.S. 444, 450 (1938). “[M]unicipal ordinances adopted

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   under state authority constitute state action and are within the prohibition of the
   [First] [A]mendment.” Id.
          This protection applies to popular and unpopular speech alike—and minority
   views are of course the ones that most need the law’s protection. “If there is a bedrock
   principle underlying the First Amendment, it is that the government may not
   prohibit the expression of an idea simply because society finds the idea itself offensive
   or disagreeable.” Texas v. Johnson, 491 U.S. 397, 414 (1989). The alternative would
   risk the ossification of our national discourse and sanction political majorities to
   prescribe an official orthodoxy. See Barnette, 319 U.S. at 642. “[F]reedom to differ,”
   after all, “is not limited to things that do not matter much.” Id.
         Whether that protection overcomes Louisville’s Fairness Ordinance and
   shields Nelson’s choice not to produce same-sex wedding photography turns on three
   questions: whether the photography qualifies as protected expression, whether the
   Ordinance either compels speech or restricts it based on its content, and whether the
   abridgement is nevertheless narrowly tailored to serve a compelling state interest.
                             A. Nelson’s Protected Expression
           The preliminary-injunction order held that Nelson’s “photography is art” and
   “[a]rt is speech.” Chelsey Nelson Photography, 479 F. Supp. 3d at 548. But the City
   continues to press the argument that the Ordinance regulates “goods or services
   involving speech,” which amount to “commercial conduct” rather than pure speech.
   City Response at 15 (emphasis added).
          The First Amendment, however, “is not limited to written or spoken words”
   alone. ETW Corp. v. Jireh Publishing, 332 F.3d 915, 924 (6th Cir. 2003). Rather,
   “pictures, films, paintings, drawing, … engravings, [and] oral utterance and the
   printed word” qualify for “First Amendment protection.” Kaplan v. California, 413
   U.S. 115, 119–20 (1973); see also Hurley, 515 U.S. at 569 (“[T]he Constitution looks
   beyond written or spoken words as mediums of expression.”). And even some
   “conduct” that “provid[es] goods or services involving speech,” City Response at 15,
   can qualify for the protections of the First Amendment, see, e.g., Telescope Media
   Group, 936 F.3d at 752.
          In deciding whether conduct is sufficiently communicative to implicate the
   First Amendment, courts ask about two things: the (subjective) intent of the speaker
   and the (objective) understanding of others. Did the speaker have “[a]n intent to
   convey a particularized message”? Johnson, 491 U.S. at 404 (quotation omitted). And
   was “the likelihood … great that the message would be understood by those who
   viewed it”? Id.
         First, Nelson has shown a subjective intent to promote a particular message
   about marriage. She uses photographs of weddings to convey her view of the world,


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   as shaped by her values and faith. Nelson Decl. ¶¶ 75–99. She takes these
   photographs in a manner designed to highlight the beauty and solemnity of marriage.
   ¶¶ 9, 83. And she depicts marriage in a “positive and uplifting way” to celebrate what
   she believes to be God’s design for marriage, with the hopes of convincing others that
   it is worthy of pursuit. ¶¶ 84, 151. The City hasn’t offered any evidence to contradict
   this.
          Second, “the likelihood [is] great” that viewers would understand Nelson’s
   message celebrating marriage. Johnson, 491 U.S. at 404. That photographs can
   mean different things to different people, City Response at 19, is of course not by itself
   enough to remove expressive conduct from the scope of speech. Reader-response
   theory has not overtaken the reasonable observer, who would likely understand that
   the artist’s own story is bound up with the images she captures. “Hurley implies that
   the First Amendment’s coverage depends on whether observers impute ‘meaning’ to
   what they see. Note, however, that the ‘meaning’ need not be univocal.” Mark
   Tushnet, Art and the First Amendment, 35 COLUM. J. L. & ARTS 169, 210 & n.166
   (2012). The City at times implies that the only expression emanates from the
   celebrants and officiant, not the photographer capturing them. City Response at 14–
   15. This is too narrow a conception of photography, and of art. The Pulitzer, after
   all, goes to the photographer, not her subjects. And when a composer selects a
   musician to bring a song to life, is either less of an artist because the other’s creative
   expression is also involved?
          Wedding photographers, like wedding singers, convey distinct messages and
   are hardly interchangeable—as anyone who’s ever planned a wedding or watched The
   Wedding Singer surely understands. Even if the New Mexico and Washington
   Supreme Courts apparently do not: “Reasonable observers,” they concluded, “are
   unlikely to interpret Elane Photography’s photographs as an endorsement of the
   photographed events.” Elane Photography, LLC v. Willock, 309 P.3d 53, 69 (N.M.
   2013); see also State v. Arlene’s Flowers, Inc., 441 P.3d 1203, 513 (Wash. 2019) (“The
   decision to either provide or refuse to provide flowers for a wedding does not
   inherently express a message about that wedding.”). This approach might be more
   persuasive if all Nelson did was “decide” whether to click a button on her camera.
   But the unrebutted record here indicates she does much more. See Nelson Aff. ¶ 245
   (she “choreograph[s] and pose[s] the bride and groom and their family and guests”);
   ¶ 247 (she “use[s] [her] artistic judgment to make technical decisions” regarding
   exposure, aperture, light sensitivity, color temperature, white balance, camera flash,
   depth of field, focus, shutter speed, ambient light, perspective, composition, camera
   angles, empty space, background, and subject poses); ¶¶ 258–60 (she edits pictures
   to “emphasize a light, bright and airy image with a romantic, classic, and timeless
   quality”); ¶¶ 267–71 (she curates blogs for each couple to “celebrate the engagement
   or wedding, encourage the couple, and communicate [her] views on marriage”).


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          So her expression, though not necessarily verbal, is nevertheless intended to
   and likely to in fact convey a message. Johnson, 491 U.S. at 404. That brings it
   within the scope of the freedom of speech. This conclusion is consistent with the broad
   construction the Supreme Court’s precedents have afforded the term “speech.” Under
   this two-pronged framework, the Court has recognized a wide variety of expressive
   conduct that qualifies as speech. See, e.g., United States v. Stevens, 559 U.S. 460,
   471–72 (2010) (animal crush videos); Barnes v. Glen Theatre, Inc., 501 U.S. 560, 565–
   66, 572 (1991) (nude dancing); Johnson, 491 U.S. at 414 (flag burning); Hurley, 515
   U.S. at 569 (St. Patrick’s Day parade); id. (discussing the painting of Jackson Pollock,
   music of Arnold Schoenberg, and Jabberwocky verse of Lewis Carroll); Tinker v. Des
   Moines Independent Community School Dist., 393 U.S. 503, 505–506 (1969)
   (armbands); Barnette, 319 U.S. at 632 (not saluting the American flag); Nat’l Socialist
   Party of Am. v. Skokie, 432 U.S. 43 (1977) (neo-Nazi parade).
          The Sixth Circuit has likewise recognized that photography qualifies as
   speech: “The protection of the First Amendment is not limited to written or spoken
   words, but includes other mediums of expression, including music, pictures, films,
   photographs, paintings, drawings, engravings, prints, and sculptures.” ETW Corp.,
   332 F.3d at 924. So too have other courts. See, e.g., Kaplan, 413 U.S. at 119–20
   (1973) (“pictures, films, paintings, drawings, and engravings … have First
   Amendment protection”); Bery v. City of New York, 97 F.3d 689, 696 (2d Cir. 1996)
   (“[P]aintings, photographs, prints and sculptures … are entitled to full First
   Amendment protection.”).
          More recently, courts have repeatedly faced the question whether wedding-
   related services that involve expressive conduct amount to “speech” that the First
   Amendment protects.        Most such decisions—even one upholding a public-
   accommodations law—have said yes. See Telescope Media Group, 936 F.3d at 750
   (custom wedding videos are speech); 303 Creative, 6 F.4th at 1176 (custom wedding
   websites are “pure speech”); Brush & Nib Studio, LC v. City of Phoenix, 448 P.3d 890,
   895 (Ariz. 2019) (custom wedding invitations are speech).
          The City largely ignores these decisions, resting instead on the divergent
   holding of the New Mexico Supreme Court in Elane Photography, 309 P.3d at 66.
   That court held that because a photography business “is a public accommodation, its
   provision of services can be regulated … even though those services include artistic
   and creative work.” Id. This begs the question: can the state supersede speech rights
   by deeming activities a public accommodation rather than speech? Hurley tells us
   no: the government may not “declar[e] [another’s] speech itself to be the public
   accommodation.” 515 U.S. at 572–73; see also Riley v. Nat’l Fed. of the Blind of N.C.,
   Inc., 487 U.S. 781, 796 (1988) (“state labels cannot be dispositive of [the] degree of
   First Amendment protection” a person enjoys). The New Mexico Supreme Court tried
   to cabin this reasoning to not-for-profits, contending the “United States Supreme

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   Court has never found a compelled-speech violation arising from the application of
   antidiscrimination laws to a for-profit public accommodation.” 309 P.3d at 65. But
   Masterpiece Cakeshop wasn’t resolved on that simple basis, even though it involved
   a going concern. 138 S. Ct. at 1731–32. And this purported distinction ignores
   longstanding caselaw applying the First Amendment to the speech of businesses.6
   The Sixth Circuit could hardly have been clearer on this point: “Speech is protected
   even though it is carried in a form that is sold for profit,” and “[t]he fact that
   expressive materials are sold does not diminish the degree of protection to which they
   are entitled under the First Amendment.” ETW Corp., 322 F.3d at 924–25
   (distinguishing “expressive materials” that are “sold” or “disseminat[ed]” from “pure
   commercial speech” that “does no more than propose a commercial transaction” and
   may merit reduced protection).
         In short, the City and the New Mexico Supreme Court recognize the conflict
   between the federal Constitution and state public-accommodations laws—but expect
   federal law to yield. That question, however, was resolved in the other direction by
   the Supremacy Clause, the Civil War, and the Fourteenth Amendment.
          The Executive Director of the Louisville Human Relations Commission
   appears to agree that Nelson’s photographs “communicat[e] a message of
   celebration.” Goatley Dep. Tr. 141. But the City attempts to parse its regulation to
   touch only Nelson’s conduct and not any expression bound up with it: the regulations,
   it contends, don’t interfere with the way Nelson engages in the creative process, but
   only with her decision whether to create. City Response at 15 (“The Ordinance does
   not tell Chelsey how to frame her shots or edit photographs; it regulates only the sale
   of Chelsey’s services to the public.”). And it’s true that courts have applied less
   scrutinous First Amendment review to content-neutral regulations of conduct that
   may incidentally burden speech. See O’Brien, 391 U.S. 376 (“[W]hen ‘speech’ and
   ‘nonspeech’ elements are combined in the same course of conduct, a sufficiently
   important governmental interest in regulating the nonspeech element can
   justify incidental limitations on First Amendment freedoms.”).
          But the City doesn’t articulate any reason why it would regulate the “conduct”
   of setting the focus or pushing the camera button. Rather, the City cares about
   whether, not how, Nelson takes photographs—conduct that wouldn’t be undertaken

      6 See e.g., Citizens United v. Fed. Elec. Comm’n, 558 U.S. 310, 342 (2010) (collecting cases);

   Time, Inc. v. Firestone, 424 U.S. 448 (1976); Doran v. Salem Inn, Inc., 422 U.S. 922
   (1975); Southeastern Promotions, Ltd. v. Conrad, 420 U.S. 546 (1975); Cox Broadcasting
   Corp. v. Cohn, 420 U.S. 469 (1975); Miami Herald Publishing Co. v. Tornillo, 418 U.S. 241
   (1974); New York Times Co. v. United States, 403 U.S. 713 (1971); Time, Inc. v. Hill, 385 U.S.
   374 (1967); New York Times Co. v. Sullivan, 376 U.S. 254 (1964); Kingsley Int'l Pictures
   Corp. v. Regents of Univ. of N. Y., 360 U.S. 684 (1959); Joseph Burstyn, Inc. v. Wilson, 343
   U.S. 495 (1952).

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   but for the photographer’s expressive purpose and work product. Even if the City can
   say with a straight face that “pressing a button” on a camera amounts to conduct,
   that conduct is expressive both in its subjective motivation and objective effect.
   Requiring her to press a button when the government demands—no less than
   requiring a writer to press a keyboard when the state says so—compels the expression
   of that artist.
          To recast Nelson’s speech as mere conduct (or speech incidental to conduct)
   would undermine core First Amendment protections and subject “wide swaths of
   protected speech … to regulation by the government.” Telescope Media Group, 936
   F.3d at 752. Even the purchase of newspaper ink—conduct far more removed and
   less expressive than photography—has drawn First Amendment protection when its
   regulation could, hypothetically, affect the journalism that ink was meant to convey.
   See Minneapolis Star-Tribune v. Minnesota Commissioner of Revenue, 460 U.S. 575,
   592 (1983). The “conduct” of producing art related to weddings presents a far simpler
   case. As Judge Stras recently explained:
          The government could argue, for example, that painting is not speech
          because it involves the physical movements of a brush. Or it could claim
          that publishing a newspaper is conduct because it depends on the
          mechanical operation of a printing press. It could even declare that a
          parade is conduct because it involves walking. Yet there is no question
          that the government cannot compel an artist to paint, demand that the
          editors of a newspaper publish a response piece, or require the
          organizers of a parade to allow everyone to participate. Speech is not
          conduct just because the government says it is.
   Id. (citations omitted). So too here. The government may not distill a person’s
   expression to its basest components and then siphon that essential conduct. When
   speech and conduct are diffused, one cannot be controlled without also abridging the
   other. By regulating an artist’s choice to take a job or click a button, the government
   is making her produce speech she disagrees with.7
         None of this is to denigrate legitimate debates regarding the sweep of the First
   Amendment, or the difficulty of drawing the line between speech and non-expressive
   conduct. See, e.g. Sorrell v. IMS Health Inc., 564 U.S. 552, 567 (2011) (distinguishing
   between constitutionally protected speech and regulatable conduct). But that hard


      7 The incidental-burden doctrine does not apply to content-based regulations in any event.

   See Holder v. Humanitarian Law Project, 561 U.S. 1, 26–27 (2010). And as discussed below
   (§ B.2), the Ordinance’s Accommodations Provision is content-based. So the Ordinance
   cannot be categorized as a regulation of conduct that only incidentally affects speech, even
   assuming it were possible to disentangle the conduct involved in the creative process from
   the creation itself.

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   work is what the First Amendment and Article III task judges with doing in order to
   resolve conflicts between speech rights and encroaching regulations. And the work
   may prove less challenging if courts view their job as the more mundane task of
   reading and interpreting law, rather than entering “the business of deciding which
   businesses are sufficiently artistic to warrant exemptions from antidiscrimination
   laws.” Arlene’s Flowers, 441 P.3d at 1228 (citing Elane, 309 P.3d at 71). Rebalancing
   legislative policy choices isn’t necessary if the question remains whether the activity
   counts as speech.        If so, federal constitutional protections supersede local
   antidiscrimination laws, not vice versa. As long as curious and outspoken members
   of our society find new and creative ways to express themselves, and as long as
   governments find new and creative ways to regulate those people, courts will confront
   hard questions. But today’s inquiry is simply whether Nelson’s wedding photography
   carries the intent and meaning necessary to render it expressive under the Supreme
   Court’s precedents. And the unrebutted record makes clear that it does.
                      B. The City’s Regulation of Nelson’s Speech
         So Nelson’s photography is covered by the First Amendment. Does the
   Ordinance either compel her to speak in a way she finds objectionable or suppress
   her speech based on its content? Yes. The Ordinance violates the Constitution in
   both ways: it requires Nelson to photograph same-sex weddings based on her choice
   to photograph opposite-sex ceremonies.
         1. Compelled Speech. Compelled speech is antithetical to “the [f]reedom of
   speech,” which “presupposes a willing speaker.” Va. Pharmacy Bd. v. Va. Consumer
   Council, 425 U.S. 748, 756 (1976). “[O]ne important manifestation of the principle of
   free speech is that one who chooses to speak may also decide what not to
   say.” Hurley, 515 U.S. at 573 (quotations omitted). Indeed, “[g]overnments must not
   be allowed to force persons to express a message contrary to their deepest
   convictions.” Nat’l Inst. of Family & Life Advocs. v. Becerra, 138 S. Ct. 2361, 2379
   (2018) (NIFLA) (Kennedy, J., concurring).
         This is true even when the law in question serves important interests in
   avoiding offense or unfairness toward others. Indeed, a long line of authority
   recognizes that when public-accommodations laws and similar regulations would
   have the effect of compelling speech, the First Amendment bars their enforcement.
   Hurley, 515 U.S. at 572–73, is right on point. There the Supreme Court considered
   whether a St. Patrick’s Day parade was expressive conduct that implicated the First
   Amendment. A local gay, lesbian, and bisexual group sought to use a public-
   accommodations law to compel parade organizers to allow the group’s members to
   march and carry a banner. Id. The parade organizers had a different message in
   mind and declined to let the group march. Id. The Supreme Court explained that
   the parade was expressive speech and held that Massachusetts could not compel the
   group’s inclusion over the sponsor’s objection, because such a command would “alter

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   the expressive content of [the] parade.” Id. The upshot? The public-accommodations
   law could not, consistent with the First Amendment, “declare the sponsors’ speech
   itself to be the accommodation.” Id. at 573. That kind of obligation would run
   headlong into the Constitution’s prohibition on compelled speech, “however
   enlightened [the law’s] purpose may strike the government.” Id. at 579.
          The core holding of Hurley does not stand in isolation. It reflects longstanding
   precedent prohibiting government-compelled speech. In Barnette, the Supreme Court
   barred West Virginia from forcing schoolchildren to recite the Pledge of Allegiance
   and salute the flag each day. 319 U.S. at 642. In Miami Herald Publishing Company
   v. Tornillo, the Supreme Court enjoined enforcement of a Florida law that required
   newspaper editors to use the paper’s finite pages to publish the replies of political
   candidates the newspapers had criticized. 418 U.S. 241, 244, 258 (1974). In Wooley
   v. Maynard, the Supreme Court blocked a law requiring drivers to display the New
   Hampshire state motto (“Live Free or Die”) on their license plates, because this forced
   the driver’s apparent endorsement of a government-approved message. 430 U.S. 705,
   707, 715–16 (1977). In NIFLA v. Becerra, the Supreme Court invalidated a California
   requirement that crisis-pregnancy centers must inform patients of the availability of
   abortion at other clinics, because this altered the centers’ speech by injecting a
   government-compelled message. 138 S. Ct. at 2371. And in Janus v. AFSCME, the
   Supreme Court held that the government may not “compe[l] individuals to mouth
   support for views they find objectionable” by requiring union dues that fund political
   speech. 138 S. Ct. 2448, 2463 (2018).
         These decisions are of a piece with our constitutional fabric. Because the
   expressive activity had “a particularized message” that the speaker intended and an
   audience could perceive, it was covered by the First Amendment. Johnson, 491 U.S.
   at 404. And the freedom of speech meant the speaker, not the government, got to
   decide whether the speaker would salute, publish, display slogans, or discuss
   abortion.
          Courts have applied this principle to claims of discrimination based on sexual
   orientation, too. The Hurley decision addressed similar tension between a state
   nondiscrimination law aimed at securing equal treatment and a speaker’s right to
   express a chosen point of view. 515 U.S. at 572–73 (rejecting “the state courts’
   application of the statute [to] essentially requir[e] petitioners to alter the expressive
   content of their parade”). The Supreme Court later held unenforceable a public-
   accommodations law that forbid the Boy Scouts from excluding an assistant
   scoutmaster based on his sexual orientation: doing so would significantly burden the
   organization’s First Amendment “right to oppose or disfavor homosexual conduct.”
   Boy Scouts of Am. v. Dale, 530 U.S. 640, 659 (2000). The government lacked authority
   to “control” the “choice of a speaker not to propound a particular point of view.” Id.
   at 654. And in Masterpiece Cakeshop, the Court declined Colorado’s invitation to hold

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   that its public-accommodations law would require a baker to provide services for a
   same-sex ceremony despite his religious objection. 138 S. Ct. at 1731–32.
          The precedents the City cites, by contrast, address the application of public-
   accommodations laws to conduct, not speech. This is how to reconcile Roberts v. U.S.
   Jaycees, 468 U.S. 609, 624 (1984), and Rumsfeld v. FAIR, 547 U.S. 47, 68 (2006), with
   the speech cases above. In Roberts, the Court addressed conduct that was not
   expressive at all: requiring an all-male social club to admit female members did not
   compel speech because admitting women did not “imped[e] the organization’s ability
   to engage in … protected activities or disseminate its preferred views.” 468 U.S. at
   627. And in FAIR, the rule at issue concerned the speech of others that observers
   wouldn’t reasonably ascribe to the schools challenging this requirement. The
   Supreme Court held that the federal government could require law schools to grant
   military recruiters access to law school facilities and student email. 547 U.S. at 62.
   But that was not because an accommodations law trumped the law schools’ speech
   rights as a general matter; rather, the particular speech at issue was not that of the
   law schools. The law didn’t compel any speech because a “law school’s decision to
   allow recruiters on campus is not inherently expressive.” Id. at 64.
          Neither activity resembles Nelson’s protected expression, which the Ordinance
   threatens to punish unless Nelson agrees to photograph, edit, and write about same-
   sex weddings when she otherwise wouldn’t. That speech is still compelled even
   though Nelson, as the City emphasizes, “voluntarily formed” her business, entered
   “the public marketplace,” and could always simply exit the field. City Response at
   16–17, 26. No one forced the Miami Herald to put out a newspaper, Tornillo, 418
   U.S. at 243, the Irish of Boston to throw a parade to honor St. Patrick on Evacuation
   Day, Hurley, 515 U.S. at 560, or Mark Janus to take an Illinois government job in a
   unionized shop, Janus, 138 S. Ct. at 2461. But the First Amendment recognized their
   right to do so, and prevented the government from conditioning that right on their
   willingness to communicate other messages, too. The shield against compelled speech
   would be flimsy indeed if the government could simply exclude a non-conforming
   speaker from her avocation.
           In another area of the law, some courts have allowed “government mandates
   requiring disclosure of ‘purely factual and uncontroversial information.’” Am. Meat
   Inst. v. U.S.D.A., 760 F.3d 18, 21 (D.C. Cir. 2014) (en banc) (quoting Zauderer v. Office
   of Disciplinary Counsel, 471 U.S. 626, 651 (1985)). The contrast between attorney
   advertising and country-of-origin labels, on the one hand, and parades and wedding
   photography, on the other, is telling. See Nat’l Ass’n of Mfctrs. v. SEC, 800 F.3d 518,
   523 (D.C. Cir. 2015) (“[O]utside th[e] context [of] commercial advertising, the ‘general
   rule’ is ‘that the speaker has the right to tailor the speech.’”) (quoting Hurley, 515
   U.S. at 574). Even in that purely commercial context, the government must still limit
   any compulsion to statements that are “purely factual,” not “unduly burdensome,”

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   and “uncontroversial.” Zauderer, 471 U.S. at 651. Would Nelson’s photography and
   blogging regarding her understanding of traditional marriage satisfy even one of
   these three prongs? Only rarely should a commercial regulation meet this
   “demanding” standard, particularly its “uncontroversial” prong. Am. Meat Inst., 760
   F.3d at 33–34 (Kavanaugh, J., concurring). And in matters of conscience and faith,
   the chances seem practically nil. See NIFLA, 138 S. Ct. at 2372.
           The City’s alternative version of the First Amendment would represent the
   flip-side of prior restraint: pre-approval of speech on pain of punishment for those
   who don’t parrot a government-approved message. Under such a regime, “individuals
   [could be] coerced into betraying their convictions.” Janus, 138 S. Ct. at 2464. But
   “[f]orcing free and independent individuals to endorse ideas they find objectionable is
   always demeaning.” Id. And beyond the dignity interests of the speaker, such
   coercion cheapens the message’s value to the listener: the audience of an approved
   message cannot know whether the message authentically conveyed the views of the
   speaker, or only officially sanctioned talking points. “Words uttered under coercion,”
   after all, “are proof of loyalty to nothing but self-interest.” Barnette, 319 U.S. at 644
   (Black, J., concurring). The Supreme Court, like Orwell, has long recognized the risk
   that compelled speech may “turn the writer, and every other kind of artist as well,
   into a minor official, working on themes handed down from above.” George Orwell,
   The Prevention of Literature (1946). 8 The First Amendment exists to resist that
   pressure and keep the artist’s expression truly free.
          2. Content-Based Restriction. It would be odd indeed if Nelson’s decision
   to promote one message supporting opposite-sex marriage triggered an obligation to
   promote what she views as a conflicting message in support of same-sex marriage.
   The government typically cannot “require speakers to affirm in one breath that which
   they deny in the next.” See Pacific Gas & Elec. Co. v. Public Util. Comm’n of Cal.,
   475 U.S. 1, 16 (1986). Such an arrangement sounds a lot like a matrimonial version
   of the equal-time doctrine the Supreme Court rejected in Tornillo, 418 U.S. at 258.
   And in this context, the regulation also amounts to an impermissible content-based
   restriction on Nelson’s speech because it turns on her decision to speak on the subject
   of opposite-sex weddings. See Telescope Media Group, 936 F.3d at 753.
          The rule against content-based speech restrictions is a core First Amendment
   limitation on government authority: the state lacks “power to restrict expression
   because of its message, its ideas, its subject matter, or its content.” Police Dep’t of
   City of Chicago v. Mosley, 408 U.S. 92, 95 (1973). A content-based law is one that
   “target[s] speech based on its communicative content.” Reed v. Town of Gilbert, 576
   U.S. 155, 163 (2015). This can include laws that define the regulated speech by its

      8 Available at https://www.orwellfoundation.com/the-orwell-foundation/orwell/essays-
   and-other-works/the-prevention-of-literature/.

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   “subject matter,” “topic,” “message,” “function[,] or purpose.” Id. Indeed, facially
   content-neutral laws that “cannot be justified without reference to the content of the
   regulated speech,” are still content based. Id. at 164 (quotation omitted); see also City
   of Austin, Texas v. Reagan Nat’l Advert. of Austin, LLC, 142 S. Ct. 1464, 1471–72
   (2022) (similarly interpreting Reed).         Such regulations are “presumptively
   unconstitutional and may be justified only if the government proves that they are
   narrowly tailored to serve compelling state interests.” Reed, 576 U.S. at 163.
   Content-based distinctions prevent speakers from sharing messages and shield
   listeners from any offense or unapproved information. But the Constitution takes
   the opposite view: the rights of the speaker are “presumed to lie beyond the
   government’s power to regulate,” Hurley, 515 U.S. at 575, and generally “the right of
   expression prevails” over any design “to shield the sensibilities of listeners,” United
   States v. Playboy Entertainment Group, 529 U.S. 803, 813 (2000).
          This Ordinance, however well-intentioned, carries with it a “substantial risk
   of excising certain ideas or viewpoints from the public dialogue.” Turner Broad. Sys.,
   Inc. v. FCC, 512 U.S. 622, 642 (1994). In fact, “protecting individuals[’] personal
   dignity” and “[e]nsur[ing] freedom from humiliation” in the form of speech, no less,
   are the declared policies of the Fairness Ordinance. § 92.01. But the Constitution
   does not permit governments to promote their perceptions of fairness by
   extinguishing or conditioning the free expression of opposing perceptions of the
   common good. Even regarding the most extreme and offensive subjects, “the
   government may n[ot] prohibit the expression of an idea simply because society finds
   that idea itself offensive or disagreeable.” Snyder v. Phelps, 562 U.S. 443, 458 (2011)
   (quotation omitted). And in terms of offensiveness, it’s hard to top what the Court
   confronted—and protected—in Snyder: protestors who disrupted the funerals of
   military veterans to ascribe their deaths to God’s wrath for the United States’
   tolerance of homosexuality. Id. at 457–58 (shielding protestors from tort liability
   because “any distress occasioned by Westboro’s picketing turned on the content and
   viewpoint of the message conveyed”).
          This Ordinance likewise “target[s] speech based on its communicative
   content.” Reed, 576 U.S. at 163. It eliminates Nelson’s ability to express herself
   freely on the subject of marriage because if she photographs one type of marriage she
   must photograph others, even those to which she objects. Even a law that is content-
   neutral on its face is treated as content-based if its application “require[s] speakers
   to modify the content of their expression.” Hurley, 515 U.S. at 578; Holder, 561 U.S.
   at 27–28 (similar).
          That is what a public-accommodations law such as this does when it “compel[s]
   individuals to speak a particular message”—it “alte[rs] the content of [their] speech.”
   NIFLA, 138 S. Ct. at 2371 (quotation omitted). The Accommodation Provision,
   however, requires Nelson to provide her services “full[y] and equal[ly]” to same-sex

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   couples, § 92.05(A), which would compel Nelson to “celebrat[e]” those weddings
   through her artistic choices, ¶¶ 75–99; ¶¶ 151–272; ¶¶ 268–71. See also City
   Response at 16 (construing Ordinance to require Nelson to “make [her] ... service
   equally available to all customers”). To determine whether Nelson is treating same-
   sex couples equally, the City must necessarily consider her choices about which
   weddings to photograph and how. See 303 Creative, 6 F.4th at 1202 (Tymkovich, C.J.,
   dissenting) (public-accommodations law was content-based because “determining
   whether a person has been denied accommodation because of a protected class status
   requires … an inquiry into the motivation behind the denial”). “By treating [Nelson’s]
   choice to talk about one topic—opposite-sex marriages—as a trigger for compelling
   [her] to talk about a topic [she] would rather avoid—same-sex marriages—” the
   ordinance imposes a content-based restriction. Telescope Media Group, 936 F.3d at
   753; see also Brush & Nib Studio, 448 P.3d. at 914 (“compel[ling] [defendants] to write
   celebratory messages with which they disagree” is content based).
          The record bears out why the Ordinance regulates Nelson’s expression based
   on its content, not her conduct toward others belonging to a protected class.
   Unrebutted evidence shows Nelson will serve LGBT customers so long as the
   photographs she produces wouldn’t carry a message that contradicts her beliefs.9 For
   example, she would take and edit the photos a lesbian wedding photographer took at
   an opposite-sex wedding, or work for a same-sex couple whose son marries a woman.
   Nelson Aff. ¶ 399. Not doing so would amount to discriminatory conduct not shielded
   by the First Amendment, as she acknowledges. See ¶¶ 396–404; Chelsey Nelson
   Photography, 479 F. Supp. 3d at 564 n.165 (“most applications of an anti-
   discrimination law are constitutional”); id. at 560 n.133 (distinguishing
   discrimination based on skin color, as opposed to message). Nelson doesn’t contend,
   for good reason, that the First Amendment would apply to a Louisville business that
   denied goods or services based on the customer’s protected status. Contra City
   Response at 16–17. But discrimination based on status is not the same as
   disagreement with a message. Nelson won’t create photography in support of a
   “same-sex wedding, polyamorous wedding, or an open marriage wedding,” Nelson Aff.
   ¶ 191, which she believes “contradict biblical principles,” ¶ 188. So the Ordinance’s



      9 See Nelson Aff. ¶ 395 (“My policy of offering and providing wedding-celebration and

   boutique-editing services celebrating weddings only between a man and a woman and of
   declining requests for services is never about the person requesting these services.”); ¶ 396
   (“I am willing to work with all people regardless of classifications such as race, sexual
   orientation, national origin, or any other characteristic.”); Motion at 11 (“she will provide
   wedding photography to LGBT clients … whether that be LGBT wedding planners or LGBT
   parents requesting photographs celebrating their child’s opposite-sex wedding.” (citations
   omitted)).

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   application to wedding photography turns on the content of the photographer’s
   expression regarding the celebration of marriage.
                                    C. Strict Scrutiny
          Because the Accommodation Provision both compels and restricts Nelson’s
   speech based on content, the City may enforce it only if the law survives strict
   scrutiny.   See Reed, 576 U.S. at 163 (such restrictions “are presumptively
   unconstitutional”); Sable Communications of Cal., Inc. v. FCC, 492 U.S. 115, 126
   (1989). This “requires the [g]overnment to prove that the restriction furthers a
   compelling interest and is narrowly tailored to achieve that interest.” Az. Free Entp.
   Club’s Freedom Club PAC v. Bennett, 564 U.S. 721, 734 (2011) (quotation omitted).
          The City asserts a compelling interest in “eliminating discrimination and
   assuring its citizens equal access to publicly available goods and services.” Response
   at 24–25. The Supreme Court has blessed this goal as a compelling state interest.
   See Roberts 468 U.S. at 624 (1984); Heart of Atlanta Motel v. United States, 379 U.S.
   241, 252–53 (1964). So too have recent appellate decisions addressing wedding-
   related speech restrictions. See, e.g., Telescope Media Group, 936 F.3d at 754 (the
   non-discrimination “interest has a substantial constitutional pedigree and, generally
   speaking, we have no doubt that it is compelling”); Brush & Nib, 448 P.3d at 914.
   The Court has no reason to doubt the sincerity or legitimacy of the government’s
   interest in equal treatment.
          But is the Ordinance narrowly tailored to that end? To answer that question,
   courts ask “whether the challenged regulation is the least restrictive means among
   available, effective alternatives.” Ashcroft v. ACLU, 542 U.S. 656, 666 (2004). In
   other words, the law must “avoid unnecessarily abridging speech.” Williams-Yulee v.
   Fla. Bar, 575 U.S. 433, 444 (2015). To meet this standard, the law must avoid being
   either “overinclusive,” Brown v. Ent. Merchs. Ass’n, 564 U.S. 786, 804 (2011), or
   “underinclusive,” Reed, 576 U.S. at 171.
          This is not easy, nor should it be when speech restrictions are at issue. Strict
   scrutiny doesn’t allow for half measures (which could allow for subtle forms of
   government preferences): either an interest is so compelling that it can be achieved
   only by regulations with few or no exceptions, or else the law must make room for as
   much speech as possible, including by extending any exceptions to similarly situated
   speech. See Riley, 487 U.S. at 790 (“[G]overnment regulation of speech must be
   measured in minimums, not maximums.”). It is no wonder that “it is the rare case in
   which a State demonstrates” that a speech-restrictive provision passes strict
   scrutiny. Williams-Yulee, 575 at 444 (2015) (quotation omitted).
         These considerations apply with even more force when the regulation compels
   rather than restricts speech. “One of our landmark free speech cases,” the Supreme
   Court recently recalled, “said that a law commanding ‘involuntary affirmation’ of

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   objected-to beliefs would require ‘even more immediate and urgent grounds’ than a
   law demanding silence.” Janus, 138 S. Ct. at 2464 (quoting Barnette, 319 U.S. at
   633). Indeed, compelled-speech decisions regularly speak in terms of absolutes. As
   Tornillo explained, “[t]he clear implication” of prior Supreme Court decisions “has
   been that … a compulsion to publish” content that speakers’ “reason tells them should
   not be published is unconstitutional.” 418 U.S. at 256 (quotation omitted). And
   Hurley emphasized that the government may not compel a speaker to promote
   another’s message, no matter “ho[w] enlightened [its] purpose may strike” the
   regulator in question. 515 U.S. at 579. It is difficult to imagine a case where a
   regulation compelling speech would pass strict scrutiny, at least outside the realm of
   commercial speech.10
         This Ordinance is not that unicorn. The City takes a broad position that
   appears to eschew any tailoring. “Uniform enforcement of the Accommodations
   Provision,” it maintains, “is the least restrictive means for furthering Metro’s interest
   in ensuring equal access to goods and services, because every single instance of
   discrimination renders access unequal, inflicts humiliation, and creates stigma.” City
   Response at 26. But the City’s pursuit of its equality goal is hardly “uniform”: its

      10 The Supreme Court’s compelled-speech precedents tempt one to conclude that a per se

   rule prohibits government-compelled speech, at least outside the commercial context. See,
   e.g., Dale, 530 U.S. at 654 (“[T]he choice of a speaker not to propound a particular point of
   view ... is presumed to lie beyond the government's power to control.” (citation omitted));
   Hurley, 515 U.S. at 573 (“[T]he fundamental rule of protection under the First Amendment
   [is] that a speaker has the autonomy to choose the content of his own message.”). The
   Supreme Court’s opinions in Barnette, 319 U.S. at 642, Wooley, 430 U.S. at 715, Tornillo, 418
   U.S. at 243, Dale, 530 U.S. at 643, and Hurley, 515 U.S. at 559, seem to speak in absolutes,
   without reference to tiers of scrutiny. The Eighth Circuit and Arizona Supreme Court
   similarly suggest that even an otherwise compelling interest in nondiscrimination might not
   exist when compelled speech is at issue. See Telescope Media Group, 936 F.3d at 755; Brush
   & Nib, 448 P.3d at 914–15. Especially in light of recent decisions such as N.Y. State Rifle &
   Pistol Ass’n, Inc. v. Bruen, 142 S. Ct. 2111, 2129 (2022), which eschew tiers of scrutiny in
   favor of attention to “text and history,” one is left to wonder why the same approach wouldn’t
   apply to the First Amendment, see Club Madonna Inc. v. City of Miami Beach, 42 F.4th 1231,
   1261 (11th Cir. 2022) (Newsom, J., concurring) (questioning tiers of scrutiny in First
   Amendment context).
       Why would lower-court judges consider afresh evidence and arguments purporting to
   justify speech restrictions or compulsions in cases like this when the Supreme Court appears
   never to have found strict scrutiny satisfied in the compelled-speech context? (And indeed to
   have questioned whether it ever could.) That said, the Supreme Court has considered strict-
   scrutiny arguments in compelled-speech cases, even if it hasn’t said they are required. See
   NIFLA, 138 S. Ct. at 2375 (“licensed notice cannot survive even intermediate scrutiny”);
   Janus, 138 S. Ct. at 2465 (“we will apply [exacting scrutiny] to the justifications”). So a lower
   court lacks any basis to throw over that approach in this case, particularly since the
   Ordinance cannot survive strict scrutiny in any event.

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   nondiscrimination ordinances, like those of other jurisdictions, exempt many other
   people, institutions, and services. And the City never addresses why such exemptions
   would fail here. Therefore the Accommodation Provision is both over- and under-
   inclusive, fails to “restric[t] no further than necessary to achieve the [government’s]
   goal,” and ultimately fails strict scrutiny. See ACLU, 542 U.S. at 666.
          1. The Accommodation Provision is overinclusive. The Ordinance
   proscribes more speech than necessary to serve the government’s stated interest. See
   Simon & Schuster, Inc. v. Members of N.Y. State Crime Victims Bd., 502 U.S. 105,
   121 (1991). A court considering whether a regulation is overinclusive must consider
   less-restrictive alternatives. See, e.g., Rutan v. Repub. Party of Ill., 497 U.S. 62, 74
   (1990) (hypothesizing other less-restrictive means of accomplishing the government’s
   stated objective). Here, no conjecture is necessary: the approach of Louisville itself
   and other jurisdictions offers a contrast with the Fairness Ordinance establishing
   that less-restrictive means are available to accomplish the government’s stated
   interest.
          Louisville’s own “Discriminatory Practices” laws (of which the Ordinance is a
   part, see Chapter 92) show the City perceives it can further the goal of equal access
   while respecting other protected interests. As to housing, for example, the City
   excludes single-room and small-housing rentals, family groups, and private clubs
   from its anti-discrimination housing ordinances. § 92.04(A)(1)–(3). Those ordinances
   exempt a “private sale” of a home “without the aid of any real estate operator, broker,
   or salesperson and without advertising or public display.” § 92.04(A)(4). This would
   seemingly preclude a gay person, refused a private sale by owner because of his sexual
   orientation, from availing himself of a Commission complaint or private suit.
   Louisville also exempts some facilities from its sex-discrimination provisions and the
   definition of public accommodations. See § 92.05(C) (banning sex-discrimination in
   only some facilities); § 92.02 (defining “place of public accommodation” not to include
   private clubs “available only to its members and their bona fide guests”). If this can
   be tolerated without undermining the City’s professed goal of preventing
   discrimination, then it is hard to see why a wedding photographer (whose business
   after all is speech, not property) couldn’t be exempted as well.
          Louisville has provided similar exceptions to other constitutionally protected
   interests, such as religion. The City allows a “religious organization, association, or
   society, or any nonprofit” run by such a religious group to limit some sales and leases
   to “persons of the same religion” so long as membership isn’t restricted by “race, color,
   or national origin.” § 92.04(A)(3). Its nondiscrimination law also exempts “religious
   institution[s]” or their charitable and educational organizations from employment
   anti-discrimination regulations “in regard to sexual orientation or gender identity.”
   § 92.07(B). While some exceptions for religious organizations would be required
   under the Establishment Clause, current doctrine wouldn’t appear to require such

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   broad housing and employment exemptions for charitable and educational
   organizations. See Hosanna-Tabor Evangelical Lutheran Church & Sch. v. E.E.O.C.,
   565 U.S. 171, 190–91 (2012) (“ministerial exception” from employment laws for
   religious institutions). Nothing explains why Louisville has apparently adopted a
   greater sensitivity to Establishment Clause than Free Speech interests.
          The City doesn’t seriously confront these broad exemptions for religious and
   other organizations, or the questions they raise regarding the lack of corresponding
   exemptions for expressive activity. Specifically, Louisville doesn’t say whether it
   considered a narrower public-accommodations law that exempted expressive
   activity—and if not, why not. 11 Other judges have noted the First Amendment
   problems such unbalanced laws can create: Colorado similarly exempted from public-
   accommodations laws “places principally used for religious purposes,” without
   explaining why it couldn’t do the same for artists or expressive activity. See 303
   Creative, 6 F.4th at 1203–04 (Tymkovich, C.J., dissenting). Why wouldn’t a similar
   exemption work here?
          Louisville’s only response is that distinguishing expression and conduct is
   “difficult” and potentially “unworkable.” Response at 27. But how much easier is
   applying the religious exemptions on the books? And the record indicates that the
   City is required to make First Amendment judgment calls to comply with restrictions
   on housing funding that prevent “investigat[ing] or prosecut[ing] any activity
   engaged in by one or more persons that may be protected by the First Amendment….”
   Motion for a Protective Order, Funding Agreement (DN 64-3) at 75. More
   fundamentally, as noted above, hard cases on the margins are a natural byproduct of
   the First Amendment’s capacious definition of “speech.” That doesn’t stop courts from
   asking whether the Constitution applies and whether a regulation is narrowly
   tailored: a “difficult” answer to the first question doesn’t excuse the government from
   answering the second. So Louisville “has not shown that it seriously undertook to
   address the problem with less intrusive tools readily available to it.” McCullen v.
   Coakley, 573 U.S. 464, 494 (2014).
          Moreover, Louisville hasn’t “shown that it considered different methods that
   other jurisdictions have found effective.” Id. at 491–94 (reviewing other state’s less
   restrictive laws to protect abortion access and prevent harassment). Utah’s Anti-
   Discrimination Act, for instance, “may not be interpreted to infringe upon the freedom
   of expressive association or the free exercise of religion protected by the First
   Amendment.” Utah Code Ann. § 34A-5-111. And Mississippi more directly addressed
   the dilemma facing those in Nelson’s position. It exempted from its public-
   accommodations laws businesses related to “marriage,” such as “[p]hotography,”

      11 Louisville admits that it “do[es] not currently possess any information regarding what

   alternative measures … legislators may have considered.” Appendix (DN 92-7) at 950.

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   based on “sincerely held religious belief[s] or moral conviction[s]”). Miss. Code. Ann.
   § 11-62-5(5). Federal law and other jurisdictions, meanwhile, differ by defining public
   accommodations more narrowly than Louisville does. See 42 U.S.C. § 2000a(b)
   (defining public accommodations as hotels, restaurants, entertainment venues, and
   gas stations); Fla. Stat. § 760.02(11) (same); Freedom Watch, Inc. v. Google Inc., 816
   F. App’x 497, 501 (D.C. Cir. 2020) (interpreting ADA to exclude online businesses
   from antidiscrimination provision).
          Louisville’s lawyers offered two unconvincing arguments why narrower
   alternatives wouldn’t work.
          First, Louisville argues that providing exceptions like the one in Mississippi
   would violate the Establishment Clause. City Response at 22–24, 27 (citing Barber
   v. Bryant, 193 F. Supp. 3d 677, 688 (S.D. Miss. 2016) (holding the Mississippi wedding
   exemption violated the Establishment Clause)). But why would an exception for
   expression, which would include both religious or non-religious expression,
   unconstitutionally establish religion? Do the City’s preexisting religious exceptions,
   see §§ 92.04(A)(3), 92.07(B), likewise offend the First Amendment? And if providing
   exceptions for religion violated the Establishment Clause, then why wouldn’t the
   Religious Freedom Restoration Act or tax exemptions for houses of worship? See, e.g.,
   Burwell v. Hobby Lobby Stores, Inc., 573 U.S. 682 (2014) (RFRA required religious
   exemption from ACA contraception mandate); Walz v. Tax Comm’n, 397 U.S. 664
   (1970) (property-tax exemption). Surely they wouldn’t—and nothing indicates a City
   exception along those lines would, either.12
           Second, Louisville argues that equal access to Nelson’s “unique” services is
   particularly important. City Reply at 21 (citing 303 Creative, 6 F.4th at 1181). This
   renders equal access crucial, according to the City, despite its admission that other
   photographers serve same-sex weddings. Appendix at 363, 585, 531–727. The same
   photography that the City denigrates in its standing analysis is, for tailoring
   purposes, “her singular artistic expression and view of the world” over which she has
   a monopoly. Id. In other words, the more expressive the service is, the more scarce
   it is, and thus the more valuable equal access is. This flips free speech on its head.


      12 The Establishment Clause, after all, was originally designed to protect religion from

   government meddling and individuals from coercion. See Douglas Laycock, Regulatory
   Exemptions of Religious Behavior and the Original Understanding of the Establishment
   Clause, 81 NOTRE DAME L. REV. 1793 (2002) (religious exemptions were not regarded as
   religious establishment); Stephanie H. Barclay et. al., Original Meaning and the
   Establishment Clause: A Corpus Linguistics Analysis, 61 ARIZ. L. REV. 505, 555–60 (2019)
   (finding no corpus linguistics evidence indicating that religious exemptions were considered
   as religious establishment); Stephanie H. Barclay, The Historical Origins of Judicial
   Religious Exemptions, 96 NOTRE DAME L. REV. 55, 122–24 (2020) (describing history of
   equitable judicial exceptions for religion notwithstanding Establishment Clause).

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   Why would more expressive activities receive less protection? “Taken to its logical
   end,” this monopoly-of-one position would mean “the government could regulate the
   messages communicated by all artists, forcing them to promote messages approved
   by the government in the name of ‘ensuring access to the commercial marketplace.’”
   303 Creative, 6 F.4th at 1204–05 (Tymkovich, C.J., dissenting). Such an argument is
   anathema to free speech.
          2. The Accommodation Provision is underinclusive. If Louisville’s
   compelling interest is truly so broad that it cannot permit exceptions because “every
   single instance of discrimination renders access unequal, inflicts humiliation, and
   creates stigma,” City Response at 26–27, then its anti-discrimination regime is
   woefully underinclusive. A law is underinclusive “when it leaves appreciable damage
   to that supposedly vital interest unprohibited.” Reed, 576 U.S. at 172 (banning some
   but not all signs for aesthetics and traffic safety was underinclusive). Sometimes, a
   narrow statutory scheme burdens rights without meaningfully furthering the
   government’s interest, making a broader and “more coherent” policy more viable.
   Sorrell, 564 U.S. at 572–73 (restriction on information-sharing was too narrow to
   further government’s expressed interest in confidentiality).
          Louisville’s existing anti-discrimination exceptions make it hard for the City
   to say the lack of an exemption for Nelson is necessary to stamp out “every single
   instance of discrimination.” City Response at 26–27; see L.D. Mgmt. Co. v. Gray, 988
   F.3d 836, 840 (6th Cir. 2021) (billboard regulation was “fatally underinclusive”
   because “on-site exception” undermined broad “interests in safety and aesthetics”).
   As Nelson explains in her combined Reply/Response (DN 104 at 33), Louisville’s anti-
   discrimination code has broad exceptions for small landlords, private sales, private
   clubs, and religious organizations when it comes to housing. See § 92.04(A)(1)–(4). If
   Louisville’s goal was truly to stamp out as much discrimination as possible, it is hard
   to see why it would allow what it perceives as discrimination on the basis of sexual
   orientation in housing but not photography. See Brown, 564 U.S. at 801–02
   (targeting only a particular type of violent depiction is an underinclusive attempt to
   protect children from violent depictions). Similarly, Louisville exempts even
   religiously affiliated charities and educational institutions from employment and
   housing nondiscrimination laws. See § 92.07(B). And it exempts some facilities from
   the sex-discrimination provisions. See § 92.05(C). The City offers no way to reconcile
   these exemptions with its professed goal of prohibiting all discrimination. See City of
   Ladue v. Gilleo, 512 U.S. 43, 52–53 (1994) (insufficiently justified exemptions
   undermine city’s justification for speech restriction).
         The point is not to criticize the wisdom of those policy decisions. Rather, under
   binding precedent, these related exemptions raise unanswered and damning
   questions about the City’s reliance on a goal of maximum anti-discrimination in the
   wedding context. See NIFLA, 138 S. Ct. at 2375–76 (broad public-information goal

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   impermissibly pursued by targeting small number of clinics). So it is hard to see how
   impinging Nelson’s speech rights furthers an interest in stamping out “every single
   instance of discrimination” that “renders access unequal, inflicts humiliation, and
   creates stigma.” City Response at 26–27.
          3. An expert report’s assessment of the impact of this Court’s decision
   doesn’t change the narrow-tailoring analysis. Louisville’s final argument that
   the Ordinance survives strict scrutiny requires separate treatment. The City argues
   that an “exemption” for Nelson “could lead to an increase in real-world discrimination
   that would harm same-sex couples” by reducing the willingness of vendors “to serve
   same-sex couples … even among previously willing vendors.” Id. at 28. This Court’s
   ruling, in other words, could itself amount to harm justifying the abridgement of
   speech by “embolden[ing] even previously willing vendors to refuse services to same-
   sex couples.” Id. at 29. Although styled as an argument against overinclusivity (even
   a single excused refusal is intolerable) this position highlights the underinclusivity of
   the City’s position (what about the refusals excused by existing public-
   accommodation exceptions?).
          In support, the City relies on the expert report of Professor Barak-Corren, a
   law professor and social scientist who “conducted a field experiment” that purported
   to measure the effects of the Supreme Court’s decision in Masterpiece Cakeshop on
   vendor willingness to serve same-sex weddings. Expert Report (DN 99-3) at ¶¶ 6,
   12–13. Extrapolating from that study’s results to her predictions regarding the
   consequences of an injunction in this case, Barak-Corren opines that a decision by
   this Court in Nelson’s favor could or would similarly increase disparities in treatment
   between opposite and same-sex couples who seek services for wedding ceremonies in
   and around Louisville. However flattering a trial judge might find this elevation of
   his work product to the level of the Supreme Court (a difference the City doesn’t
   address, see Daubert Reply at 11–12), this assessment doesn’t reliably indicate that
   effect is likely. Nor does it bear on the strict-scrutiny analysis—and is therefore
   irrelevant and excludable for that additional reason.
          Federal Rule of Evidence 702 governs the admissibility of expert testimony. “A
   witness who is qualified as an expert by knowledge, skill, experience, training, or
   education may testify in the form of an opinion or otherwise…” so long as the
   testimony satisfies four requirements: (a) the expert’s scientific, technical, or other
   specialized knowledge will help the trier of fact to understand the evidence or to
   determine a fact in issue; (b) the testimony is based on sufficient facts or data; (c) the
   testimony is the product of reliable principles and methods; and (d) the expert has
   reliably applied the principles and methods to the facts of the case. Rule 702 requires
   the trial judge to ensure that the proponent of such opinion testimony carries its
   burden of establishing by a preponderance that the expert witness is qualified and
   that her testimony is relevant and reliable. In re Scrap Metal Antitrust Litig., 527

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   F.3d 517, 528–29 (6th Cir. 2008); Pride v. BIC Corporation, 218 F.3d 566, 578 (6th
   Cir. 2000).
         a) Factual unreliability. Barak-Corren’s conclusions are not reliable
   support for the City’s argument that allowing Nelson’s speech to go unpunished will
   increase discrimination. The study assumes that the wedding vendors she surveyed
   knew about the reasoning and outcome in Masterpiece Cakeshop. The study purports
   to “measure the impact of Masterpiece on sexual orientation discrimination in the
   wedding services market.” Expert Report at 3. But she “concedes” that her
   experiment ultimately “prevents the evaluation of the existence and extent of sexual
   orientation discrimination before Masterpiece Cakeshop.” Id. at 37. And Barak-
   Corren didn’t ask or evaluate whether the vendors she contacted had “knowledge of,
   appreciation for, or understanding of the Masterpiece decision after it was rendered.”
   Barak-Corren Deposition Transcript (DN 99-2) at 94:1–5. Instead, she assumed
   knowledge based on media reporting, though the reporting admittedly differed
   considerably by source. See id. at 89:4–22; Expert Report at 61 (“[A]fter a decision is
   handed down by the Court, it takes on a life of its own, and much of its effects depend
   on how it is communicated by mass media.”).
          Masterpiece, of course, was an unusual (i.e., fractured, narrow, record-specific,
   eye-of-the-beholder) decision—making it an odd incident around which to build a
   regression. Contrary to Barak-Corren’s description, it didn’t authorize “religious
   exemptions,” id. at 11, but rather rejected hostility toward religion, 138 S. Ct. at 1731.
   It also addressed the Free Exercise rather than the Free Speech Clause. Even if
   Barak-Corren’s descriptive account of a “Masterpiece effect” were sound, moreover,
   that predicts very little about whether a years-later decision from this Court would
   receive remotely comparable media attention and public reaction.
          The report also struggles to explain the extent of discrimination detected in
   her surveys. Before Masterpiece, Barak-Corren emailed 906 wedding vendors from
   accounts purportedly belonging to same-sex couples. See Expert Report at 17–20.
   Initially, more vendors responded to the same-sex couples (70.8%) than to opposite-
   sex couples (58.7%). Id. at 21. This “large attrition” in the number of opposite-sex
   relative to same-sex responses “hindered the ability to detect discrimination in the
   pre-Masterpiece period.” Id. at 21–22; see Barak-Corren Depo. at 147:12–21 (“I’m not
   able to know what is the extent of discrimination towards same-sex couples if there
   is any before Masterpiece.”).
          Barak-Corren admits she can’t explain why her survey suggests many more
   vendors would’ve been willing to serve same-sex couples than opposite-sex couples
   before Masterpiece, and what that means for the level of “discrimination” she infers
   before and after the Supreme Court’s decision. See Expert Report at 22 n.28. Were
   opposite-sex couples experiencing more discrimination than same-sex couples in the
   wedding marketplace before 2018? Surely not. The City takes the opposite position.

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   City Daubert Response at 13. Yet the study suggests as much. At least some of that
   disparity can be chalked up to its treatment of pre-Masterpiece non-responses as
   neutral but post-Masterpiece non-responses as discriminatory rejection. Post-
   Masterpiece, more vendors (75.5%) responded to opposite-sex requests than to
   inquiries from the fictitious same-sex couples (63.3%). So the study cannot reliably
   indicate whether, and how severely, Masterpiece changed vendors’ willingness to
   serve same-sex couples.13
          b) Legal irrelevance. Equally important, Barak-Corren’s opinion regarding
   public or industry reaction to a hypothetical decision and opinion is irrelevant to the
   legal question: whether the First Amendment protects Nelson’s decision not to speak.
   Daubert, 509 U.S. at 595. Expert opinion testimony must help the factfinder to
   “understand the evidence or to determine a fact in issue.” Id. at 591 (quoting FED. R.
   EVID. 702). And if “[e]xpert testimony … does not relate to any issue in the case,” it
   is “not relevant, and ergo, non-helpful.” Id. (quotation omitted); see also Jahn v.
   Equine Services, PSC, 233 F.3d 382, 389 (6th Cir. 2000).
         Are the “anticipated effects of granting Chelsey Nelson the relief sought by her
   Complaint on the willingness of other wedding vendors to provide services to same-
   sex couples” relevant to the scope of the First Amendment’s protections? Expert
   Report Summary (DN 90-2) ¶ 4. “The Court can properly consider Professor Barak-
   Corren’s opinion and the Masterpiece experiment,” according to the City, because they
   “sho[w] that even an individual exemption can have a significant and robust impact
   on a market and its customers.” Daubert Response at 20. Is the premise of
   Louisville’s and Barak-Corren’s argument that the U.S. Supreme Court got
   Masterpiece wrong because we now believe, with the benefit of hindsight, that it had
   a negative effect on vendor receptiveness to same-sex ceremonies? Or that this

      13 Changes in methodology may have contributed to the different response rates.      Before
   Masterpiece, she asked about vendor availability over the course of a month and didn’t specify
   the number of potential dates. After Masterpiece, she asked about availability only on two
   specific dates—Friday and Saturday. Appendix (DN 90-5) at 1–10. The nature of the request
   changed too: pre-Masterpiece no in-person meetings were requested, while post-Masterpiece
   the emails requested in-person meetings. Compare id. at 1–4 with id. at 4–5, 7–9. The more
   general and open-ended request pre-Masterpiece certainly could have led to more affirmative
   responses—for reasons that had to do with scheduling availability and nothing to do with
   Masterpiece. And Barak-Corren changed how she coded responses: pre-Masterpiece, referrals
   to alternative vendors or suggestions of alternative dates were treated as positive responses,
   while after the Supreme Court decision she coded such responses as negative. Id. at 29 n.16.
   Any of these significant methodical changes could account for the changes to the post-
   Masterpiece data. But the study didn’t control for this. This failure to “account for
   explanatory variables” warrants exclusion of the expert report. Davis v. Landscape Forms,
   Inc., 640 F. App’x 445, 455 (6th Cir. 2016); see also Jack Henry & Assocs., Inc. v. BSC, Inc.,
   487 Fed. Appx. 246, 256–57 (6th Cir. 2012) (affirming district court’s exclusion of expert
   witness report for failing to consider alternative explanations).

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   inferior court should alter its analysis based on public perceptions of Supreme Court
   precedent that hasn’t been overruled? These questions go to the very core of this
   country’s long debate over the counter-majoritarian role of the courts. Compare, e.g.,
   Alexander Bickel, THE LEAST DANGEROUS BRANCH 16 (1962), with Larry D. Kramer,
   THE PEOPLE THEMSELVES: POPULAR CONSTITUTIONALISM AND JUDICIAL REVIEW 7–8
   (2004). Is this task really “law all the way down”? See Frederick Schauer, A Frame
   Without a Picture: On the Relevance of Law to the Decision of Hard Cases 5 (Va. L.
   and Legal Theory Research Paper No. 2022-39, 2022) (quoting Elena Kagan). Or
   should judges—perhaps relying on the studies of Barak-Corren and other social
   scientists—attempt to anticipate whether subsets of the population will approve of
   its ruling in what measures?
         The City isn’t clear regarding which aspect of the First Amendment analysis
   Barak-Corren has “special insight into.” Hustler Cincinnati, Inc. v. Cambria, 625
   Fed. App’x 712, 717 (6th Cir. 2015). To the extent her opinion addresses the
   substantiality of the City’s interest in nondiscrimination, the point is moot: this
   Court, like others, has accepted the legitimacy of that interest regardless of opinion
   testimony. To the extent it addresses narrow tailoring, that would seem to highlight
   the Ordinance’s underinclusivity. Given the harm Barak-Corren ascribes to even one
   exemption or refusal by a vendor, how could the City justify the other exemptions
   discussed above?14
          In any event, binding caselaw makes clear that public acceptance is not a
   proper barometer for First Amendment protections. To the contrary, free-speech
   doctrine has consistently emphasized the Amendment’s role in protecting speech and
   views that otherwise could be stifled by the majority. See Johnson, 491 U.S. at 414.
   After all, the “very purpose of a Bill of Rights was to withdraw certain subjects from
   the vicissitudes of political controversy, to place them beyond the reach of majorities
   and officials and to establish them as legal principles to be applied by the courts.
   One’s right to life, liberty, and property, to free speech, a free press, freedom of

   14 Both parties saw fit to proffer expert testimony asserting that its side of the liberty/equality

   divide would suffer most from the Court’s decision. See Expert Report Summary ¶ 12;
   Rebuttal Expert Report (DN 90-6) ¶¶ 34–45. And both ascribed the legal relevance of that
   contention to the Court’s role in “balancing” these incommensurable interests. Response to
   Rebuttal Daubert Motion (DN 100) at 12; Nelson MSJ Reply (DN 104) at 34 (inviting Court
   to reject Ordinance based on “harm to religious communities and persons in refusing to grant
   any religious exemptions”); City Daubert Response (DN 99) at 19–20. This exercise casts
   further doubt on the appropriateness of the discretion-maximizing tiers-of-scrutiny judicial
   methodology in contexts like this. See § V.C above. In Stevens, the Supreme Court rejected
   a similar invitation to determine “[w]hether a given category of speech enjoys First
   Amendment protection” based “upon a categorical balancing of the value of the speech against
   its societal costs.” 559 U.S. at 470 (quoting U.S. Brief at 8). “As a free-floating test for First
   Amendment coverage,” the Court properly recognized, that “is startling and dangerous.” Id.

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   worship and assembly, and other fundamental rights may not be submitted to vote;
   they depend on the outcome of no elections.” Barnette, 319 U.S. at 638.
          Because the City hasn’t cited any authority regarding the appropriateness of
   opinion testimony in this context, the Court grants the motion to exclude (DN 90) and
   rejects the City’s argument that this contributes to application of strict scrutiny to
   the Ordinance. And without that “evidence,” the City can only speculate that a
   decision by this Court or exceptions for speech would “embolden” a wave of new
   discrimination. City Response at 29. This argument for narrow tailoring likewise
   fails.
                                           ***
         So either Louisville’s anti-discrimination scheme is too underinclusive to
   address “every single instance of discrimination,” or it is overinclusive because it
   compels the speech of expressive businesses like Nelson’s while offering exceptions to
   other groups. Both are a problem. And both are fatal, especially since the law
   compels speech. See Janus, 138 S. Ct. at 2464. As a result, the Accommodation
   Provision cannot pass strict scrutiny.
      D. Denial Clause
          The Ordinance also contains a “Denial Clause” that forbids Nelson from
   informing customers that she will not provide photography at same-sex weddings.
   See Metro Ord. § 92.05(B) (“It is an unlawful practice” to “publish” or “display” a
   “communication” which “indicates” that “services … and accommodations … will be
   … denied an individual on account of his … sexual orientation”). This is plainly a
   restriction on speech based on its content and viewpoint. A person who shares the
   City’s view regarding same-sex marriages may say, announce, publish, etc. that he or
   she will not refuse to provide goods or services on account of the customer’s sexual
   identity. But another person with dissenting views may not state that he or she will
   refuse to provide goods or services on that basis.
          This sort of content- and viewpoint-based restriction is presumptively
   unconstitutional. See Reed, 576 U.S. at 163. Nelson seeks to inform potential
   customers that while she would gladly serve same-sex clients and create photography
   for them regarding some messages, she would refuse to create custom photography
   in celebration of a same-sex-wedding. Motion at 4–5. But such a restriction may be
   valid if the speech concerns underlying conduct that is illegal. As Louisville points
   out, the Supreme Court has long held that jurisdictions may prohibit speech that
   encourages or promotes illegal activity. For example, in Pittsburgh Press Co. v.
   Pittsburgh Commission on Human Relations, 413 U.S. 376, 388 (1973), the Supreme
   Court explained that the First Amendment did not permit a newspaper to publish
   “sex-designated columns” in violation of a local ordinance prohibiting discrimination
   on the basis of sex. The “proposed speech” promoted “illegal commercial activity” and

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   thus fell outside the scope of the First Amendment. Id.15 By contrast, the Supreme
   Court has explained that a medical clinic’s ability to publicize abortion services was
   protected by the First Amendment so long as the underlying procedure was lawful.
   See Bigelow v. Virginia, 421 U.S. 809, 822–24 (1975).
           The distinction is clear: those governed by lawful public-accommodations laws
   may not advertise activities that would violate such laws, but may promote any
   speech that the Constitution protects. See Campbell v. Robb, 162 F. App’x 460, 469
   (6th Cir. 2006) (A “discriminatory statement to [plaintiff] was ‘related
   to illegal activity,’ and therefore receives no First Amendment protection
   whatsoever.”) (quoting Central Hudson Gas & Elec. Corp. v. Pub. Service Comm’n of
   N.Y., 447 U.S. 557, 563–64 (1980)). So the constitutionality of the Denial Clause rises
   or falls with the constitutionality of the Accommodations Provision.
           For the reasons explained above, Nelson’s decisionmaking about her
   photography is not “illegal commercial activity.” Rather, it is speech protected by the
   First Amendment. It is protected speech that may not be abridged absent narrow
   tailoring to serve a compelling state interest. And the City’s suppression of Nelson’s
   statement (currently displayed on her website pursuant to the preliminary
   injunction) could not survive strict scrutiny. The government has no permissible
   interest in suppressing even offensive views merely from being uttered. See, e.g.,
   Masterpiece Cakeshop, 138 S. Ct. at 1731 (“[I]t is not ... the role of the State or its
   officials to prescribe what shall be offensive.”). This is pure speech that the
   government may not penalize or suppress. Because Nelson’s underlying photography
   is protected, her speech about limitations on that photography is protected too. See
   Bigelow, 421 U.S. at 828–29.
      E. Unwelcome Clause
          Perhaps even more troubling is the Unwelcome Clause, which snuffs out
   speech that causes consumers to feel that a person’s presence at a public
   accommodation is “objectionable, unwelcome, unacceptable, or undesirable.”
   § 92.05(B). The briefest glance at the provision reveals its incompatibility with the
   First Amendment: the speaker’s rights are conditioned on the listener’s feelings.
   Contra, e.g., Playboy Entertainment Group, 529 U.S. at 811–13 (content-based
   suppression of speech between 6 a.m. and 10 p.m. not justified by “sexually explicit”
   and “highly offensive” nature of programming). Offend someone—make him or her
   feel “unwelcome” or “undesirable”—and you may be subject to official sanction,

      15 See United States v. Williams, 553 U.S. 285, 297 (2008) (“Offers to engage in illegal

   transactions are categorically excluded from First Amendment protection.” (citing Pittsburgh
   Press Co., 413 U.S. at 388)); Central Hudson Gas & Elec. Corp. v. Pub. Service Comm’n of
   N.Y., 447 U.S. 557, 563–64 (1980) (“The government may ban … commercial speech related
   to illegal activity.” (internal citations omitted)).

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   punishment, and reeducation. § 92.08 (detailing remedies); Verna Goatley Decl. (DN
   64-3) at 4 (remedial measures include “anti-discrimination training”). So this
   provision fails First Amendment scrutiny. Just as the Denial Clause would prohibit
   pure speech based on its content and viewpoint, the Unwelcome Clause would too.
   And it has no better claim to surviving strict scrutiny.
          Nelson advances a second argument against the constitutionality of the
   Unwelcome Clause: vagueness. The “[v]agueness doctrine is an outgrowth … of the
   Due Process Clause.” United States v. Williams, 553 U.S. 285, 304304 (2008). The
   “basic principle of due process” is “that an enactment is void for vagueness if its
   prohibitions are not clearly defined.” Grayned v. City of Rockford, 408 U.S. 104, 108
   (1972). And as the Supreme Court has explained, a statute may violate this principle
   by authorizing an impermissible degree of enforcement discretion if it does not “set
   reasonably clear guidelines for law enforcement officials and triers of fact in order to
   prevent ‘arbitrary and discriminatory enforcement.’” Smith v. Goguen, 415 U.S. 566,
   573 (1974) (quotation omitted). Moreover, “when a statute ‘interferes with the right
   of free speech … a more stringent vagueness test should apply.’” Holder, 561 U.S. at
   19 (quoting Vill. of Hoffman Ests. v. Flipside, Hoffman Ests., Inc., 455 U.S. 489, 495
   (1982)).
          At least one other judge has concluded that a provision similar to the
   Unwelcome Clause was unconstitutionally vague. See 303 Creative, 6 F.4th at 1214–
   15 (Tymkovich, C.J., dissenting). And it’s easy to see why: the “Unwelcome Provision”
   under Colorado law, he observed, was too “flexible in meaning to give proper notice
   to any reasonable person” and allowed “officials and courts [to] arbitrarily interpret
   the provision.” Id. Although Nelson echoes this critique of Louisville’s own provision,
   the City offers no reason why its law isn’t similarly vague.
          Its only response is that, because Nelson’s own speech is “clearly proscribed”
   by the Ordinance, she lacks standing to raise a facial vagueness challenge under the
   Due Process Clause. City Response at 12 (citing Expressions Hair Design v.
   Schneiderman, 137 S. Ct. 1144, 1151–52 (2017) (quoting Holder, 561 U.S. at 20)).
   Some courts, however, have distinguished Holder and allowed vagueness challenges
   to proceed, regardless of whether this plaintiff’s speech is clearly proscribed, based
   on arbitrary enforcement discretion. See Act Now to Stop War & End Racism Coal.
   & Muslim Am. Soc’y Freedom Found. v. District of Columbia, 846 F.3d 391, 410–11
   (D.C. Cir. 2017) (distinguishing “arbitrary enforcement” and “fair notice” vagueness
   challenges). Even if a plaintiff knows that his or her conduct falls within the scope
   of the statute, according to the D.C. Circuit, a statute may be void for vagueness
   because the speaker has “no way to discern in advance whether the exercise of
   unbridled enforcement discretion will spare the plaintiff’s constitutionally protected
   expression from prosecution.” Id.


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         The Court needn’t address that distinction here because Nelson also brings an
   as-applied vagueness challenge. Compl. ¶ 334 & Relief ¶ 1. She does not, however,
   cite any caselaw approving the elusive concept of a preenforcement as-applied
   vagueness challenge resting on arbitrary enforcement discretion. On the other hand,
   the City doesn’t even defend the scope of its discretion. And at least some of the
   wedding-related speech and blogging her Declaration describes could plausibly
   subject her to the prospect of enforcement action based on the “objectionable”
   response her marriage-related speech may cause others to experience.
          The Ordinance vests the Commission with authority to determine whether an
   investigation should be launched in response to a complaint, based on the
   Commission’s determination whether there’s “reason to believe an unlawful practice
   has occurred,” and whether an investigation should be launched. § 92.09. Louisville
   admits that it has no written policy or guidance constraining this enforcement power.
   Boyd Dep. Tr. 100–01. Instead, its enforcement requires “facts and evidence,” id. at
   105–08, and case-by-case determinations, id. at 101. Contra Belle Maer Harbor v.
   Charter Twp. of Harrison, 170 F.3d 553, 558–59 (6th Cir. 1999) (the term “reasonable”
   is vague when enforcement officials could not define it). Such standardless discretion
   can easily serve as a “convenient tool for harsh and discriminatory enforcement
   against particular groups deemed to merit th[e] displeasure” of the government.
   Papachristou v. City of Jacksonville, 405 U.S. 156, 170 (1972). That threat of
   enforcement could easily chill a great amount of speech—including Nelson’s speech
   regarding her stance on same-sex weddings. See Speet, 726 F.3d at 873.
          Without clear language guiding the discretion of the enforcement official,
   therefore, this amounts to largely unrestrained authority to police speech based on
   subjective listener reactions. Again, the Court has no reason to doubt the sincerity
   of the City’s desired end. The problem is its means—suppressing speech based on its
   content—which is foreign to our Constitution. “[A] speech burden based on audience
   reactions is simply government hostility ... in a different guise.” Matal v. Tam, 137
   S. Ct. 1744, 1767 (2017) (Kennedy, J., concurring in part and concurring in the
   judgment). Given the serious (yet largely unbriefed) questions raised by a facial or
   as-applied vagueness challenge in this preenforcement context, however, the Court
   doesn’t have to decide the question in order to grant Nelson the relief she seeks.
          VII. The Free Exercise Clause of the First Amendment and the
                  Kentucky Religious Freedom Restoration Act
          Does Nelson’s photography merit additional or independent protection based
   on her sincerely held religious beliefs? Probably not under federal law, but under
   state law it does.
          Nelson argues that the Accommodation Provision infringes her free exercise of
   religion in addition to her right to free speech. She asserts twin claims under the

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   federal Constitution and the Kentucky Restoration of Religious Freedom Act, KRS
   § 446.350, but no claim under the Kentucky Constitution. Because Nelson’s claim
   succeeds under state statutory law, the Court need not consider her federal Free
   Exercise claim under principles of constitutional avoidance. See Bond v. United
   States, 572 U.S. 844, 855 (2014).
           That claim would likely be foreclosed under binding Supreme Court precedent
   in any event. Before 1990, Free Exercise claims were subject to strict scrutiny under
   Sherbert v. Verner, 374 U.S. 398, 406–07 (1963), which held that government
   regulations substantially burdening religious exercise could not survive unless the
   burden was narrowly tailored to serve a compelling governmental interest (that is,
   strict scrutiny). But in Employment Division v. Smith, 494 U.S. 872, 878 (1990), the
   Supreme Court reversed course and decided that restrictions on religious exercise or
   belief that are “merely the incidental effect of a generally applicable and otherwise
   valid provision” are subject only to rational-basis review.16
          In the aftermath of Smith, Congress and many states (including Kentucky)
   enacted “religious freedom restoration acts,” designed to subject some or all
   government action to Sherbert-style scrutiny as a matter of statutory law,
   notwithstanding Smith’s narrower interpretation of the Free Exercise Clause. See
   KRS § 446.350; Douglas Laycock, Religious Liberty and the Culture Wars, 2014 U.
   ILL. L. REV. 839, 845 & n.26 (2014) (collecting state RFRAs). Ironically, some critics
   have since described these RFRA statutes as easier than Smith to reconcile with the
   original public meaning of the First Amendment. See, e.g., Michael W. McConnell,
   Free Exercise Revisionism and the Smith Decision, 57 U. CHI. L. REV. 1109 (1990);
   Douglas Laycock, The Supreme Court’s Assault on Free Exercise, and the Amicus Brief
   That Was Never Filed, 8 J. L. & RELIGION 99 (1990). These critiques have led some
   to question Smith’s continuing legitimacy. See, e.g., Fulton v. City of Philadelphia,
   141 S. Ct. 1868, 1883 (2021) (Alito, J., joined by Thomas, J., and Gorsuch, J.,
   concurring in the judgment) (criticizing Smith as “fundamentally wrong”); Amul R.
   Thapar, Smith, Scalia, and Originalism, 68 CATH. U. L. REV. 687, 695–96 (2019)
   (surveying criticism of Smith).
         The Fairness Ordinance would almost certainly survive rational-basis review
   under Smith, given its widely accepted nondiscrimination goals. See Seger v. Ky.

      16 Nelson also amalgamates her religion and speech arguments in a strange form known

   as a “hybrid-rights claim.” Compl. ¶ 353. That is, an argument that wouldn’t necessarily
   carry the day under the speech or religion clauses alone, but that might implicate enough of
   commingled constitutional interests to shield the activity in question. See, e.g., Axson-Flynn
   v. Johnson, 356 F.3d 1277, 1295 (10th Cir. 2004). She admits this variety of claim is squarely
   foreclosed by Sixth Circuit precedent, Prater v. City of Burnside, 289 F.3d 417, 430 (6th Cir.
   2002), but deems it worth preserving because other jurisdictions recognize it. Nelson Motion
   at 18.

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   High Sch. Athletic Ass’n, 453 F. App’x 630, 634 (6th Cir. 2011) (facially “neutral law
   of general applicability” is “analyzed under a standard similar to rational basis
   review”); Telescope Media Group, 936 F.3d at 754 (“[The non-discrimination] interest
   has a substantial constitutional pedigree and, generally speaking, we have no doubt
   that it is compelling.”).
         Regardless of federal Free Exercise protections, however, Kentucky statutory
   law applies strict scrutiny based on Nelson’s religious-freedom claim. KRFRA
   protects a wide swath of religious practice and precludes the government from
   burdening the freedom of religion. The provision, in full, provides that:
         Government shall not substantially burden a person’s freedom of
         religion. The right to act or refuse to act in a manner motivated by a
         sincerely held religious belief may not be substantially burdened unless
         the government proves by clear and convincing evidence that it has a
         compelling governmental interest in infringing the specific act or refusal
         to act and has used the least restrictive means to further that interest.
         A “burden” shall include indirect burdens such as withholding benefits,
         assessing penalties, or an exclusion from programs or access to facilities.
   KRS § 446.350. As the Sixth Circuit recently explained, the “point of the law is to
   exercise an authority every State has: to provide more protection for religious
   liberties at the state level than the U.S. Constitution provides at the national level
   [through] the free-exercise guarantee of the First Amendment, as interpreted by
   Employment Division v. Smith, 494 U.S. 872 (1990).” Maryville Baptist Church, Inc.
   v. Beshear, 957 F.3d 610, 612 (6th Cir. 2020).
          To prevail, Nelson must demonstrate (1) the “right to act or refuse to act” on a
   “sincerely held religious belief” that would be (2) “substantially burdened” by the
   restriction unless (3) the government can show the burden passes strict scrutiny.
   KRS § 446.350; Maryville Baptist, 957 F.3d at 612–13 (KRFRA “impos[es] strict
   scrutiny”). Nelson has established her right to relief under this test.
          First, her refusal to photograph same-sex weddings rests on a sincerely held
   religious belief. As discussed above, the unrebutted record indicates Nelson is a
   sincere Christian motivated by her faith to celebrate marriage as the union of only
   opposite-sex couples. See Nelson Decl. ¶ 306. Her faith motivates her to write blog
   posts regarding marriage and why her beliefs preclude her from promoting or
   celebrating same-sex unions through her photography. Id. ¶¶ 441–45. Louisville
   does not call into question the sincerity of Nelson’s faith. See City Response at 26
   (“That Chelsey’s religious beliefs are in tension with an anti-discrimination law … is
   the case whenever people hold religious objections to complying with anti-
   discrimination laws or any other generally applicable business regulations.”).



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          Second, the penalties imposed by the Fairness Ordinance and enforced by the
   Human Relations Commission impose a substantial burden. The Kentucky Court of
   Appeals has explained that “for a governmental regulation to substantially burden
   religious activity, it must have a tendency to coerce individuals into acting contrary
   to their religious beliefs.” Lyster v. Woodford Cnty. Bd. of Adjustment Members, No.
   2005-CA-1336, 2007 WL 542719 (Ky. Ct. App. Feb. 23, 2007) (discussing Lyng v.
   Northwest Indian Cemetery Protective Ass’n, 485 U.S. 439, 450–51 (1988)). And the
   Sixth Circuit, in the related RLUIPA context, has described this burden as
   “substantial pressure on a religious institution [or person] to violate its religious
   beliefs or effectively bar a religious institution from using its property in the exercise
   of its religion.” Livingston Christian Schools v. Genoa Charter Township, 858 F.3d
   996, 1002 (6th Cir. 2017) (quoting Living Water Church of God v. Charter Township
   of Meridian, 258 Fed. App’x 729 (6th Cir. 2007)). The Court has further held—in the
   federal RFRA context—that threats of disciplinary action and penalties placed
   substantial burdens on plaintiffs’ sincere religious beliefs. See Holt v. Hobbs, 574
   U.S. 352, 361 (2015) (threat of “disciplinary action” by prison authorities posed
   substantial burden under RLUIPA’s parallel provision); Hobby Lobby, 573 U.S. at
   720 (threatened penalties and fines for failure of large corporation to pay for
   employees’ contraception “substantially burdened” sincere religious beliefs under
   RFRA).
          The potential fines and penalties Nelson faces for following her sincere
   religious beliefs are quite substantial. If she declines to photograph a same-sex
   wedding and is prosecuted, she faces fines, monetary penalties, and investigations.
   See Metro Ord. § 92.08. In addition to statutory penalties, Nelson would be liable to
   pay civil damages for any “injury” she may cause by denying her photography to a
   same-sex couple or other “aggrieved” person. § 92.09(A); see KRS § 344.450
   (authorizing damages, court costs, and attorneys’ fees to any person allegedly injured
   by any unlawful act). And in response to a successful complaint at the Commission,
   Nelson could face uncapped damages for any injury, including “humiliation and
   embarrassment,” and liability for “any expense incurred by the complainant.”
   § 92.08(B)(8) (incorporating KRS § 344.230(3) and other remedies provided under
   federal and state civil-rights laws). Further still, violators may be compelled to
   participate in “anti-discrimination training.”    See Verna Goatley Affidavit ¶ 20
   (negotiated resolution short of a hearing “often involves the respondent engaging in
   anti-discrimination training or other remedial measures”).
          Third, the question of strict scrutiny is by now academic. Strict scrutiny at the
   state level tracks that applied in the federal courts. See Moorish Science Temple of
   Am., Inc. v. Thompson, No. 2014-CA-1080, 2016 WL 1403495, at *3–5 (Ky. Ct.
   App. April 8, 2016) (applying strict scrutiny to both First Amendment and KRFRA
   claim). For the same reasons explained above, the Ordinance fails strict scrutiny.


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          The City raises two defenses to the KRFRA claim: the statute may only be
   raised as an affirmative defense, not an affirmative claim, and relief is barred by the
   Eleventh Amendment in any event. City Response at 29. Both arguments fail.
          Nelson may assert a KRFRA claim in a preenforcement posture, as courts
   (including this one) have previously recognized. The same standard that governs
   other preenforcement challenges applies here. See, e.g., Maryville Baptist, 957 F.3d
   at 616 (granting preenforcement KRFRA injunction); On Fire Christian Ctr., Inc. v.
   Fischer, 453 F. Supp. 3d 901, 913 (W.D. Ky. 2020) (same). And other courts have
   permitted preenforcement review of laws burdening religious practice under similar
   RFRA regimes. See, e.g., Adam v. Barr, No. 18-cv-2106, 2019 WL 1426991, at *3
   (S.D.N.Y. Mar. 29, 2019) (plaintiff must have credible fear of prosecution to obtain
   preenforcement RFRA injunction); see also Hobby Lobby, 573 U.S. at 703–04
   (permitting preenforcement review of HHS mandate). As a textual matter, the
   Kentucky General Assembly did not designate the statute to operate only as a
   defense, as it did in plenty of other contexts. 17 In arguing otherwise, Louisville
   ignores the extensive caselaw surrounding preenforcement review and simply
   rehashes its no-injury argument rejected above: “KRFRA provides a defense to
   government enforcement activity, not a preenforcement cause of action to challenge
   a generally applicable antidiscrimination law.” City Response at 29. But the same,
   however, can be said of the First Amendment, yet it undoubtedly may support
   preenforcement review. The City offers no precedent or statutory language cabining
   KRFRA to an affirmative defense.
          Nor does the Eleventh Amendment have anything to say about Nelson’s ability
   to assert this claim. The United States Supreme Court has repeatedly refused to
   extend sovereign immunity to counties. See Lake Country Estates, Inc. v. Tahoe Reg’l
   Planning Agency, 440 U.S. 391, 401 (1979); Jinks v. Richland County, 538 U.S. 456,
   466 (2003) (“[M]unicipalities, unlike States, do not enjoy a constitutionally protected
   immunity from suit.”); see also Hall v. Med. Coll. of Ohio, 742 F.2d 299, 301 (6th Cir.
   1984) (“Municipalities, counties and other political subdivisions (e.g., public school
   districts) do not partake of the state’s Eleventh Amendment immunity.”). And
   because Nelson’s requested relief does not “ru[n] against the State,” but instead
   implicates only the county’s interest in local enforcement, the Eleventh Amendment
   and the “principles of federalism that inform” it do not apply. Pennhurst State School
   & Hosp. v. Halderman, 465 U.S. 89, 100, 123 n.34 (1984) (quotation omitted).

      17 E.g., KRS § 311.782(2) (“It shall be an affirmative defense to a charge under subsection

   (1) of this section….”); KRS § 244.080 (“[I]n any prosecution for selling alcoholic beverages to
   a minor it shall be an affirmative defense that the sale was induced by the use of false,
   fraudulent, or altered identification papers….”); KRS § 434.155 (“It shall be an affirmative
   defense [to a charge of filing an illegal lien] that any material misstatement was not
   intentional.”) (all emphases added).

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          What about immunity under state law? “Federal courts must apply state
   substantive law, including immunities, when dealing with supplemental state law
   claims in federal court.” Shepherd v. Floyd County, 128 F. Supp. 3d 976, 980 (E.D.
   Ky. 2015) (citing Erie R. Co. v. Tompkins, 304 U.S. 64, 80 (1938)). And although the
   federal Constitution doesn’t extend sovereign immunity to counties, Kentucky law
   does. See KRS § 67C.101(2)(e) (Consolidated local governments “shall be accorded
   the same sovereign immunity granted counties, their agencies, officers, and
   employees.”); Jewish Hosp. Healthcare Servs., Inc. v. Louisville/Jefferson Cty. Metro
   Gov’t, 270 S.W.3d 905, 907 (Ky. App. 2008) (“[Louisville] Metro Government is
   entitled to sovereign immunity.”). Under Kentucky law, “sovereign immunity
   … prohibits claims against the government treasury absent the consent of the
   sovereign.” Univ. of Ky. v. Moore, 599 S.W.3d. 798, 810 (Ky. 2019).
          But does this immunity “bar [a] declaratory judgment action,” as opposed to a
   damages action? Id. That depends on whether the Kentucky legislature waived
   Louisville Metro’s immunity in KRFRA. The state supreme court recently answered
   this very question: KRFRA “includes no express waiver of sovereign immunity” with
   respect to monetary damages against a county. Ruplinger v. Louisville/Jefferson
   County Metro Gov’t, 607 S.W.3d 583, 586 (Ky. 2020). On the other hand, a plaintiff
   may obtain “a potential declaratory judgment enjoining Louisville/Jefferson County
   Metro Government (‘Metro’) if she can prove a violation of KRFRA.” Id. at 585. So
   this Court may consider Nelson’s request for a declaration of her rights under
   KRFRA. And because state law protects her photography and associated blogging
   from the burdens the City seeks to impose, she is entitled to that declaration.




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                                           ORDER
          The Court grants Nelson’s motion for summary judgment (DN 92), denies in
   part and grants in part the City’s cross-motion for summary judgment (DN 96),
   grants Nelson’s motion to exclude the expert testimony of Prof. Barak-Corren (DN
   90), and denies as moot the City’s motion to exclude the testimony of Nelson’s own
   expert offered in rebuttal (DN 91). The Court grants Nelson’s request for an
   injunction against the City’s enforcement of the Ordinance against her and converts
   the preliminary injunction entered against the City (DN 47 at 2) into a permanent
   injunction and declaration as set out below. See FED. R. CIV. P. 65(d); Saieg v. City of
   Dearborn, 641 F.3d 727, 733 (6th Cir. 2011) (injunction); Grand Trunk W. R.R. Co. v.
   Consol. Rail Corp., 746 F.2d 323, 326 (6th Cir. 1984) (declaration).
         1. The City and those acting on its behalf may not invoke Metro Ordinance
            § 92.05(A) to compel Nelson to provide her wedding photography services
            for same-sex wedding ceremonies or otherwise express messages
            inconsistent with Nelson’s beliefs.
         2. The City and those acting on its behalf may not invoke Metro Ordinance
            § 92.05(B) to prohibit Nelson from posting statements (see DN 1-2, 1-3) on
            her website or making similar statements on her studio’s website, on her
            studio’s social-media sites, or to prospective clients.
         3. The Accommodations and Publication Provisions of the Fairness
            Ordinance, § 92.05, violate Nelson’s freedom of religion under KRFRA.




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